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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

NEW JERSEY BUILDING LABORERS’ :
STATEWIDE BENEFIT FUNDS AND SUIS Hon.

TRUSTEES THEREOF,
Civil Action No. 20-
Petitioners,
CIVIL ACTION
Vv.
: PETITION TO CONFIRM

PARAMOUNT BUILDERS, INC., : ARBITRATION AWARD

Respondent.

Petitioners New Jersey Building Laborers’ Statewide Benefit Funds (“Funds”) and the
Trustees thereof (“Trustees”) (collectively, the Petitioners”) by their undersigned attorneys, as
and for their Petition, allege and say:

1, The Funds petition this Court for an Order pursuant to the Federal Arbitration
Act, (“FAA”), 9 U.S.C. §§ 9 and 13, confirming the award of the Arbitrator issued on July 29,
2019, in favor of Petitioners and against Paramount Builders, Inc. (“Respondent”), and directing
that judgment be entered accordingly. This Petition is made on the following grounds.

2, At all times relevant, the Funds were, and still are, trust funds within the meaning
of Section 302(c)(5) of the LMRA, 29 U.S.C. § 186(c)(5), and employee benefit plans within the
meaning of the Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §

1132(d). The Funds are administered at 3218 Kennedy Boulevard, Jersey City, New Jersey

07306.
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3. At all times relevant, the Trustees were, and still are, fiduciaries within the
meaning of Section 3(21)(A) of ERISA, 29 USC § 1002(21)(A). The Trustees maintain their
principal place of business at 3218 Kennedy Boulevard, Jersey City, New Jersey 07306.

4, At all times relevant, Respondent was, and still is, a business entity duly
organized and existing under the laws of the State of New Jersey, with a principal place of
business located at 296 Oakwood Avenue, North Haledon, New Jersey 07508.

5. The jurisdiction of this Court is based upon Section 502(e) of ERISA, 29 U.S.C. §
1132(e), 28 U.S.C. § 1331, and 28 U.S.C. § 1367. Venue is proper in this District pursuant to 29
U.S.C. 1332(e)(2), because Petitioners maintain their principal offices in New Jersey and the
underlying arbitration took place in New Jersey.

6. Respondent is a signatory to a Collective Bargaining Agreement (“CBA”) by
virtue of a Short Form Agreement (“SFA”). A copy of the relevant portions of the CBA and the
SFA are attached hereto as Exhibits “A” and “B”, respectively.

7. Respondent is also bound by the Declaration of Trust of the New Jersey Building
Laborers’ Statewide Benefit Funds. A copy of the pertinent portions of the applicable Trust
Agreement is attached hereto as Exhibit “C”.

8. The Trust Agreement provides that “(t]he Trustees may take any action necessary
or appropriate to enforce payment of contributions, interest damages, and expenses provided for
herein[.J” Under the terms of the CBA and Trust Agreement, Respondent is required to make
contributions to the Funds. In accordance with the CBA and Trust Agreement, J.J. Pierson, Esq.,
has been appointed as the Arbitrator to resolve claims of delinquent contributions owed to the

Funds.

9. Pursuant to the CBA, Respondent is obligated to hire union laborers to perform
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work covered by the CBA, see CBA, Art. 1.10; and to remit fringe benefit contributions to the

Funds for covered work performed by its employees, see CBA, Arts. 15.00 — 15.80.

10.

Pursuant to the CBA, Respondent agrees that

If [Respondent] subcontracts ay work covered by this Agreement to any
subcontractor or other person, [Respondent] shall be liable for all contributions
owing to the [FJunds established or to be established hereunder in the event the
subcontractor or person fails to pay contributions to the said funds for employees
covered by this Agreement employed by the said subcontractor or person.

[CBA, Art. 17.10 Contractor Liability for Delinquency of Sub-Contractor.]

11.

Pursuant to the terms of the CBA, Respondent, its owners, officers, and agents are

prohibited from operating other business entities to circumvent their obligations thereunder:

In order to protect and preserve work for the employees covered by this
Agreement and to protect the benefits to which employees are entitled to under
this Agreement, and to prevent any device or subterfuge to avoid the protection
and preservation of such work and benefits, it is agreed that when the Employer
performs any work of the type covered by this Agreement at any work site (1)
under its own name, or (2) under the name of another entity (whether a
corporation, company, partnership, joint venture, or any other business entity)
where the Employer. including its owners. stockholders, officers, directors, or
partners, exercise either directly or indirectly (such as through family members or
company employees) any significant degree of ownership. management or
control, the terms of this Agreement shall be applicable to all such work.

[CBA, Art. 18.20 Preservation of Bargaining Unit Work.]

12,

Respondent breached the CBA, by failing to apply its terms and conditions to

covered work. Specifically, Respondent, operating through signatory contractor High Mountain

Construction (“High Mountain”), failed to make required contributions to the Funds for covered

work performed.

13.

Respondent was duly notified of is violation of the CBA and failure to remit

required contributions. After finding that Respondent was duly notified of the hearing, and

considering all of the evidence presented in connection therewith, the Arbitrator issued an Award

and Order in writing against Respondent (“Award”). A true and correct copy of the Award is
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attached hereto as Exhibit “D”.

14. Specifically, the Arbitrator found that Respondent violated the CBA by operating
through High Mountain, and failing to make required contributions to the Funds. See Award, 4]
11 — 14, thereof.

15. With the award, the Arbitrator directed Respondent to cease and desist from
continuing to violate the CBA and Trust Agreement, and pay forthwith all delinquent
contributions to the Funds, plus interest, attorney’s fees, and costs. See Award, J 15, thereof.

16. The Funds promptly served signed copy of the award upon Respondent.
Notwithstanding the Award of the Arbitrator and notice of the same, Respondent has failed and
refused in all respects, and continues to fail and refuse in all respects, to comply with the Award
issued.

WHEREFORE, Petitioners pray for the following relief:

(a) An Order confirming the Arbitration Award;

(b) Entry of a judgment or decree by the clerk which may be enforced as any other

judgment or decree;

(c) Costs of this petition and of all subsequent proceedings and disbursements

including, but not limited to, court’s filing fee in the amount of $400.00;

(d) Costs, attorney’s fees, and interest thereupon, as provided by law; and

(e) Such other relief as the Court deems equitable.

KROLL HEINEMAN CARTON, LLC
Attorneys for Petitioners

/S! JENNIFER CHANG

 

JENNIFER CHANG

DATED: March 6, 2020
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Exhibit A
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Collective Bargaining Agreement

By and Between the

New Jersey Building Construction Laborers’ District Council
Building and General Construction Laborers’
Locals 3 & 77

and

Building, Site and General Construction
Contractors and Employers

Effective

May 1, 2016

Final 5.12.2016.0
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AGREEMENT

Preamble
WHEREAS, this Collective Bargaining Agreement (hereinafter the “Agreement”) is entered into by
the undersigned Employer (hereinafter “Employer”) and the New Jersey Building Construction
Laborers’ District Councils and Local Union 3 and 77 of the State of New Jersey (hereinafter the
“Union”), and

WHEREAS, the New Jersey Building and Construction Laborers’ District Council and Local Unions
3 and 77 of the State of New Jersey bound by this Agreement enter this Agreement individually and
it is further understood that the liabilities of said District Council and Local Unions shall be several
and not joint; and

WHEREAS, it is the purpose of this Agreement to build, develop and maintain a harmonious
working relationship between the Employer and the Unions in which the rights of both parties are
recognized and respected and the work is accomplished with the efficiency, economy and quality that
is necessary in order to expand the work opportunities of both parties,

NOW, THEREFORE, in consideration of the mutual covenants herein expressed, BE IT AGREED
AS FOLLOWS:

Article I: Recognition and Scope of Agreement

1.10 Union Recognition

The Employer recognizes that the New Jersey Building Construction Laborers District Councils and
Local Unions bound hereby represent a majority of employees of the Employer doing laborer’s work
in the State of New Jersey and shall be the sole bargaining representatives with the Employer for all
employees employed by the Employer engaged in all work of any description set forth under Article
II, Section 2.10, Work Jurisdiction, below. The employer is satisfied and acknowledges that the
Union has claimed and demonstrated that the Union has majority support and represents a majority
of the employer’s employees in an appropriate bargaining unit for the purposes of collective
bargaining. Accordingly, the Unions demand recognition and the employer recognizes the Unions as
the exclusive bargaining agent under Section 9 of the NLRA for all of its employees within the
contractual bargaining unit. The District Council and Laborer Local Unions bound hereby are: New
Jersey Building Construction Laborers’ District Council and Building and General Construction
Laborers’ Locals 3 and 77.

1.20 Good Faith Agreement
The Employer shall in good faith live up to all the provisions of this Agreement. The Union
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obligates itself for all its members that they will in good faith live up to all the provisions of this
Agreement. Acts of any individual member of the Union on his own initiative and without the
authority of the Union shall not render the Union liable therefor, nor is the Union responsible for acts
of unauthorized agents.

1.30 Scope of Agreement

The relationship of the parties is fully and exclusively set forth by this Agreement and by no other
means, oral or written.

Article I: Work and Territorial Jurisdiction

2.10 Work Jurisdiction

The Employers bound hereby recognize the Unions’ claim to al! jurisdiction as set forth in the
Manual of Jurisdiction [October 1961] and in this Agreement as the same may relate to building, site
and general construction in the State of New Jersey and the parties hereto agree to cooperate in the
proper assignment of work jurisdiction as set forth herein to the construction laborers.

Tenders: Multi-Trade Tenders tending masons, plasterers, carpenters and other building and
construction crafts,

Tending shall consist of preparation of materials and the handling and conveying of materials to be
used by mechanics of other crafts, whether such preparation is by hand or any other process. After
the materia! has been prepared, tending shall include the supplying and conveying of said material
and other materials to such mechanic, whether by bucket, hod, wheelbarrow, buggy, power buggy, or
other motorized unit used for such purpose, including all fork lifts of any description or type,
including all telehandlers, including roto-type telehandlers, with or without stabilizers, whether using
pallet forks, buckets, work platforms or other attachments, and wheresoever used, conveyors,
portable wire hoists, elevators, Bobcats, and all similar machinery, and the loading, unloading and
handling of all materials onto such devices, where used in connection with masonry, concrete,
demolition, cleanup, moving and stacking of materials, or other work performed by Laborers

Unloading, handling and distributing of all materials, including sheetrock, paneling, ceiling tile and
assemblies, windows, door bucks, metal studs, finished and rough lumber, finished cabinetry, and all
fixtures, furnishings and appliances, crated or uncrated, from point of delivery to stockpiles and from
stockpiles to approximate point of installation. The unloading and loading of trucks and freight cars
at the site.

The moving of all furniture, crated or uncrated, new or old, in a building under construction or
renovation, including the loading and unloading and the distribution and erection of furniture on a
job or project, and the removal of packing debris and other trash

The unloading and handling, including all hooking, unhooking, placement and signaling, of all
concrete plank, sills, coping, and other concrete building materials, including precast, post, pre-
stressed, and preformed concrete in any form, and all brick panel together with all similar building
and construction materials prepared off-site which replace materials, methods or work formerly done
on-site by any trade that was tended by laborers, at the job site.

The aging and curing of concrete, mortar, epoxy and other materials applied to walls, floors,
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ceilings and foundations of buildings and structures, highways, airports, overpasses and underpasses,
tunnels, bridges, approaches, viaducts, ramps or other similar surfaces by any made or method,
except where otherwise assigned to a heavy construction laborers local union.

The cutting of masonry where sledge, mechanical or pneumatic hammers are used. Operation of all

hand, pneumatic, electric, motor, combustion, or air-driven tools, concrete saws or equipment
necessary for the performance of work described herein, including forklifts, rollers, wackers (with or
without levers), vibrators, concrete saws regardless of type (self propelled or manual), gunite nozzle
and machine workers, power rollers, combination tamper and vibrator, power wheel barrows and
buggies, and all other equipment, including all Bobcats (with or without accessories), used to do
work once done by laborers.
Cleanup: Cleaning and clearing of all debris, including wire brushing of windows, scraping of
floors, removal of surplus materia! from all fixtures within confines of structure and cleaning of all
debris in building and construction area, including all cleanup after all other trades which cleanup
shall not be performed by any other trade or the apprentice of any other trade.

The general cleanup, including sweeping, cleaning, washing down and wiping of construction
facilities, equipment and furnishings and removal and loading or burning of all debris including
crates, boxes, packaging waste material. Washing or cleaning of siding of any type, walls, partitions,
ceilings, windows, bathrooms, kitchens, laboratory, and all fixtures and facilities therein,

Clean-up, vacuuming, mopping, washing, waxing and polishing or dusting ofall floors, surfaces or

areas whether by hand or machine, Final cleanup of alli types and any description on all projects,
including but not limited to industrial, office, residential and retail projects.
Water Removal: The dewatering of all construction sites and/or the removal of drainage or other
water from construction sites or areas. The handling, transportation, fueling, refueling and cleaning
of pumps, foot valves, and hoses and all engineers’ equipment and the attaching of the same, and the
installation, driving and servicing of ali well points, wick drains and any other dewatering system.
Weather and Other Temporary Protection: The installation, dismantling, adjusting of panels,
windbreaks and/or temporary enclosures or other weather protection devices whether they be canvas,
synthetic or other material of any configuration and for any purpose. The removal or treatment of
snow or ice at the jobsite.

All temporary protection of floors or any other surface by any method or material including
plywood, cardboard, masonite, homosote, paper, plastic, sysilcraft, etc.

Temporary Heat: Drying of plaster, concrete, mortar or other aggregate, when done by salamander
heat or by temporary heating units or any other drying process of any type or description. The heating
of all buildings under construction where any form of temporary heat is used, including salamanders
and megaheaters, regardless of fuel or power source, and the placing, setup, lighting, refueling,
servicing, maintenance, manning and removal of all such heaters.

Scaffolds: Erection, planking and removal of all scaffolds of all types, including mast climbing
scaffolds and all platforms, runways, ramps and putlock scaffolds, for lathers, plasterers, bricklayers,
masons and other construction trades crafts. Building, planking or installation and removal of all
staging, swinging and hanging scaffolds, including maintenance thereof. Where self-supporting
scaffolds or staging over fourteen feet in height or specially designed scaffolds are built by
Carpenters, Laborers shall tend said Carpenters on erection thereof; the dismantling of said scaffolds,
as well as preparation for foundation or mud-sills for said scaffolds and maintenance of same shall
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be done by Laborers, together with all transportation and stockpiling of dismantled scaffold
equipment, planks and materials.

Masonry Scaffolds: With reference to the Masonry Contractors, the laborers will do the entire
erection and dismantling of all scaffolds. The aforesaid jurisdiction is provided by the International
Agreement between the Mason Contractors Association of North America, Incorporated and the
Laborers’ Internationa! Union of North America, executed as of January 6, 1955 and amended
November 1, 1979, a copy of which is incorporated by reference and made part hereof.
Excavations and Foundations, Site Preparation and Clearance, Transportation and
Transmission Lines: Excavation for building and all other construction; digging of trenches, piers,
foundations and holes; digging, lagging, sheeting, cribbing, bracing and propping of foundations,
holes, caissons, cofferdams, dams, dikes and irrigation trenches, canals, and all handling, filling and
placing of sand bags connected therewith. All drilling and scaling on the site, including areas ad-
jacent or pertinent to construction site; installation of temporary lines.

On-site preparation for clearance for construction of any structures where the same are constructed
within the property lines of the building project. Clearing and slashing of brush or trees by hand or
with mechanical cutting methods. Falling, bucking, yarding, loading or burning ofall trees or timber
on construction areas, Choker setters, off bearers, lumber handlers and all laborers connected with
on-site portable sawmill operations connected with clearing. Erection, dismantling and/or
reinstallation of all fences. Clean-up of job sites, including tying on, signaling, stacking of brush,
trees or other debris, and burning where required. All soil test operations of semi and unskilled
labor, such as filling of sand bags, handling timber and loading and unloading of same.

All grading of top soil by any method, seeding by hand, device or machine, whether power or
manual, all landscaping, and the planting ofall trees, shrubs, bushes, ornamental and other plants of
any description.

The operation of total station theodolites (TST), including remote control and GPS units, for site,
concrete and masonry layout, after the surveyor has set the benchmarks and offsets.

Concrete, Bituminous Concrete and Aggregates:

{a) Concrete, bituminous concrete, or aggregates for walls footings, foundations, floors or for
any other Construction. Mixing, handling, conveying, wheeling, ramming, spreading, leveling,
pouring, vibrating, guniting and otherwise placing concrete, cement mortar, or aggregates, whether
done by hand or any other process. All types of handling and distribution of all ready-mixed
concrete. Wrecking, stripping, dismantling and handling concrete forms and false work whether
constructed of wood, aluminum or other material, Building of centers for fireproofing purposes.
Operation of motorized wheelbarrows or buggies or machines of similar character, whether run by
gas, Diesel or electric power. When concrete or aggregates are conveyed by crane or derrick, or
similar methods, the hooking on, signaling, dumping, and unhooking the bucket. Placing of concrete
or aggregates, whether poured, pumped, gunited, or placed by any other process, including the
operation of Line Dragons or similar systems. The assembly, uncoupling of all connections and parts
of or to equipment used in mixing or conveying concrete, aggregates or mortar, and the cleaning of
such equipment, parts and/or connections. All vibrating, grinding, spreading, flowing, puddling,
leveling and strike-off of concrete or aggregates by floating, rodding or screeding, by hand or
mechanical means, including the setup, operation, maintenance, dismantling, and moving of any and
all automatic or self-leveling or similar concrete leveling machines, prior to finishing. Where pre-
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stressed or pre-cast concrete slabs, sill, coping, concrete plank, walls or sections, including brick
panels, or other preformed concrete in any form, whether steel reinforced or not, are used, all
loading, unloading, stockpiling, hooking on, signaling, unhooking, setting and barring into place of
such slabs, walls or sections. All mixing, handling, conveying, placing and spreading of grout for
any purpose. Green cutting of concrete or aggregate in any form, by hand, mechanical means,
grindstones or air or water.

{b) The filling and patching of voids, crevices, etc., to correct defects in concrete caused by
leakage, bulging, sagging, etc.

(c) The loading, unloading, hoisting, carrying, distributing and handling of all rods, mesh and
material for use in reinforcing concrete construction,

(d) All work on interior concrete columns, foundations for engine and machinery beds.

(e} The stripping of forms, other than panel forms which are to be re-used in their original form,
and the stripping of forms and panels in their entirety, where the forms are not to be reused on the
same job for the same purpose and the stripping of all flat arch work and the replacing of all shoring
or supports and the stripping of all footing forms. The moving, cleaning, oiling and carrying of all
forms to the next point of erection. The cleaning of all materials before leaving a job shall be the
work of the laborers. The jacking of slip forms, and all work connected therewith.

(f) The snapping of wall ties and removal of tie rods. All sandblasting, including the handling,
placing and operation of the nozzle, hoses and pots or hoppers on sandblasting or other abrasive
cleaning and the maintenance, moving, setting up, servicing, supplying, storage, and all aspects of
the operation of all sandblasting equipment of all types and descriptions for any purpose.

(g) Bushing and other preparation of concrete surfaces.

(h) Polishing of concrete floors. Sealing of concrete and grout.

Drivit Systems. All aspects of the installation and application of drivit-type systems.
Fireproofing. The mixing of all intumescent, gypsum plasters, fibrous plasters, cementitious and
other fireproofing coatings regardless of the means of application. The layout of hoses for spraying
fireproofing coatings onto surfaces, clean up of overspray and masking of spray areas, and the spray
application of fireproofing coatings onto surfaces, and the cleaning and maintenance of all
equipment.

Sidewalks and Curbs: Work in the excavation, preparation, the grading and landscaping of all
sidewalk and curb areas, regardless of material used, and the concreting of all such areas, and all
semi-skilled and unskilled labor connected therewith.

Underpinning, Lagging, Bracing, Propping and Shoring: Underpinning, lagging, bracing,
propping and shoring, raising and moving of all structures; raising of structure by manual! or
hydraulic jacks or other methods. All work on house moving, shoring and underpinning of
structures; loading, signaling, right-of-way clearance along the route of movement. Resetting of
structure in new location to include all site clearing, excavation for foundation and concrete work.
Clean-up and back-filling, landscaping of old and new sites.

Drilling: All work of drilling, jack hammering. Operation of all rock and concrete drills, including
handling, carrying, laying out of hoses, steel handling, installation of all temporary lines. All high
scaling and other rock breaking and removal after blast.

Signal Men: Signal men on all construction work defined herein, including traffic control signalmen
at construction sites. When concrete or aggregates are conveyed by crane or derrick or similar
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methods, the hooking on, signaling, (whether in the open or in the blind) dumping and unhooking of
the bucket. Where wrecking is done by ball, all signaling shall be done by a laborer.

On all jobs where hoisting engines are in use, a Laborer shall act as bell-man. He shall load and
unload the hoist and give bell signals for the raising and lowering of the hoist.

On all jobs where elevators are in use, the ringing of bells and use of radio communicators or
telephones. When machines are in use for excavation, backfilling, grading or other purposes, the
guiding and directing of such machines.

General Excavation and Grading: The clearing, excavating, filling, back-filling, grading and
landscaping, planting and seeding of all sites for all purposes and all labor connected therewith,
including chainmen, rodmen, grade markers, etc.
Wrecking: The wrecking, deconstruction or dismantling of buildings and all structures, including
interior demolition and selective or controlled demolition. Handling of all dismantled materials and
debris to be recycled or salvaged. Breaking away roof materials, beams of all kinds, with use of
cutting or other wrecking tools as necessary. Burning or otherwise cutting all steel structural beams.
The operation and maintenance of all hydro-demolition equipment. Breaking away, cleaning and re-
moval of all masonry and wood or metal fixtures for salvage or scrap. All hooking on and un-
hooking and signaling when materials for salvage or scrap are removed by crane or derrick. All
loading and unloading of materials carried away from the site of wrecking. All work in salvage or
junk yards in connection with cutting, cleaning, storing, stockpiling or handling of materials, All
clean-up, removal of debris, burning, backfiring and landscaping of the site of wrecked structure.
Where wrecking is done by ball, all signaling shall by done by a laborer. The dismantling, removal
or demolition of all ductwork and HVAC equipment not to be reused on the job site, and the
handling and removal of all disconnected ductwork and HVAC equipment from the area to disposal
areas, The handling, transportation and stockpiling of all disconnected ductwork and HVAC
equipment which is to be reused is to be done by laborers.
Use of Tools: Operation and maintenance of all hand, pneumatic, electric, motor, combustion or air-
driven tools or equipment necessary for the performance of work described herein. Mechanized
equipment including Bobcats used for grinding, finishing, demolition, clearing, excavating,
foundation trenching, or other trenching, filling, backfilling, finish grading, planting, seeding, and the
restoration of all sites will be performed and the equipment maintained by laborers. Pumps shall be
manned by laborers. Where new tools or equipment are introduced into the area which do work
formerly done by laborers, the new tools or equipment are to be handled, maintained and operated by
laborers.
Remote Controlled Equipment: The operation of all remote controlled equipment of any type,
whether tethered, wireless, or GPS controlled, used in masonry, concrete, demolition, excavation,
cleanup, moving or stacking of materials, including Line Dragon and Brokk-type machines, used in
connection with work performed by or assigned to Laborers.
Hazardous Materials: The demolition and removal of all hazardous materials from buildings and
the decontamination of all too!s, equipment and vehicles used at such sites, including but not limited
to asbestos, toxic waste, etc.
Solar Projects: The unloading, handling and distribution of all materials from point of delivery to
storage or point of installation whether by hand or motorized unit; excavation and digging of
trenches, foundations, footers and holes; digging , sheeting, cribbing, bracing, and proppig of
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foundations, footers, holes, caissons and trenched; mixing, handling, conveying, spreading, leveling,
pouring, vibrating, guniting or otherwise placing concrete, cement, mortar or aggregates, whether
done by hand or any other process; installation of pre-stressed or pre-cast concrete slabs, concrete
planks, walls or sections or other preformed concrete in any form; conduit work; installation,
bracketing, ballasting, and tethering of solar racks and the installation of solar panels onto racks.
Miscellaneous: All yardmen, watchmen, guards, flagmen, the manning and servicing of all tool
rooms, tool sheds, material storage and distribution points, warehouse workers, cleaners, debris
handlers, water boys, material yards, junk yards, asphalt plants, concrete products plants, and all
maintenance work and work of skilled, semiskilled and unskilled nature, Where a Laborer is
assigned as a safety man wages and benefits shall be paid in accordance with this Agreement.

Other Work; All such work and jurisdiction as may have been acquired by reason of amalgamation
or merger with former national or international unions and as may be hereafter acquired; including
all such work and jurisdiction as declared by actions of the Executive Council or conventions of the
American Federation of Labor.

All such other work as may be assigned by the Employer where such assignment is accepted by the
Union, as well as any work jurisdiction now exercised by the Unions or described in the Manual of
Jurisdiction (Part I) of October, 1961.

Where the employer is not under agreement with another trade to perform work not otherwise
included in this Agreement in connection with masonry, concrete, demolition, fireproofing,
excavation, site work, cleanup, material moving, or other work, such assignment shall be offered to
the Laborers and, if accepted, an appropriate wage rate shall be agreed to.

2.20 Jurisdictional Disputes

It is agreed between the Union and the Employer that this Agreement is applicable to all construction
work that is described in this Agreement or the Manual of Jurisdiction of the Laborers’ International
Union of North America, which is incorporated herein by reference and any other work within the
recognized and traditional jurisdiction of the Union and shall be performed in accordance with the
terms of this Agreement. If the Union is aggrieved over any assignment to employees represented by
a LIUNA affiliate, the matter shall be referred to the regional office of both contesting Unions in an
effort to seek a resolution. Ifthe matter fails to be satisfactorily resolved in this manner within three
business days, the parties agree to submit the matter to the New Jersey State Board of Mediation for
binding arbitration on an expedited basis. Any party that fails to abide by and cooperate with this
expedited procedure shall be deemed to be in default and an order shall be entered by the Arbitrator
in favor of the opposing party. Pending an orderly resolution of the matter, there shall be no
interruption of work by a work stoppage, strike or refusal to refer men to the project by the Union.

2.30 Territorial Jurisdiction

This Agreement is effective and binding on all jobs in the State of New Jersey upon the execution of
the same by the Employer and any building and construction laborer local union bound hereby.
However, no amendment to this contract will be effective as against the unions bound hereby on a
statewide basis unless specifically approved in writing by the Laborers’ International Union of North

America, Eastern Region office, as representative of the District Councils and local unions bound by
this Agreement.
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Article III; Union Security and Hiring

3.10 Union Security

All employees who are present members of the Union shall maintain their membership in good
standing in the Union in order to continue in employment. All new employees, on the eighth (8) day
following the beginning of their employment, or the execution of this Agreement, or the effective
date of this Agreement, whichever is later, shall become and remain members in good standing of the
Union in order to continue in employment, all to be applied and enforced in accordance with the
provisions of the National Labor Relations Act as amended, Upon notice by the Union to the
Employer, any employee who fails to become or remain a member of the Union in good standing
shall be terminated. Initiation into the union on or after the eighth day is within the discretion of the
union. Nothing in this section shall permit an employer to hire a laborer except as provided in
Article 3.20 or 3.30 below.

3.20 Hiring

(a) In consideration of the foregoing, the Employer agrees to give the Union first opportunity to
furnish laborers and apprentices to the Employer upon his request, and provided that notice of such
requirement is given to the Union’s Business Manager, or his representative on the job, twenty four
(24) hours before the men are needed, stating the number of men needed, the skills required, the time
and location of the job, the Union agrees to fulfill the Employer’s requirements for laborers. If the
territorial Local Union is unable to supply the laborers within twenty four hours, then the Employer
may employ laborers from other Building Laborer Local Unions from other territories in the District
Council. In the event that the Employer is unable to secure its requirement of laborers as
hereinbefore set forth, then the Employer may hire from any source. In any event, no laborer shall be
employed 1) who is not a journeyperson who has been employed in the bargaining unit, set forth in
Section 1.10 for at least eight days, and who is a member in good standing, pursuant to Section 3.10,
ofa local union signatory to this Agreement or 2) who has not either first been accepted into the New
Jersey Construction Craft Laborers’ Apprenticeship Program or exempted therefrom by the
Apprentice Coordinator in accordance with that program’s rules and regulations. Any laborer hired
in violation of this Article shall be terminated.

{b) The Employer shall refer any union laborer who directly solicits the Employer for work to the
Local Union hiring hall.

3.30 Stripping

Where an Employer recruits a prospective employee from a non-union employer and desires to add
him or her to his regular work complement as a laborer, the Employer must first, in writing, advise
the Union (1) of the prospective employee’s name, address, telephone number, and social security
number, (2) itemize the skills the prospective employee is thought to possess, and (3) identify the
non-union employer(s) for whom the prospective employee has worked. Upon review, if the Local
Union Business Manager agrees to a try-out hiring, which agreement is within his sole discretion, the
Employer may put the prospective employee to work for a period not to exceed seven days. Ifat the
end of such trial period both the Union and the Employer agree that the employee will make a good
laborer, a suitable application to the Apprentice Coordinator shall be made for an exemption. If the
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exemption is denied, the employee shall be terminated. This provision shall only apply to persons
having one or more of the skills of a Class A laborer. Any employee accepted under this provision
shall complete the 30 Hour OSHA Safety Training Course within three months of the granting of the
exemption. Ifthe person fails to complete the course within the time frame allowed, he or she shall
be terminated from employment by the Employer. During the try-out period, all wage, checkoff and
fringe benefit provisions of this Agreement shall be enforced. Any person hired for a try-out without
the prior agreement of the Business Manager shall be immediately terminated by the Employer.

3.40 Replacement Laborers

When an Employer has in his employ a laborer who is scheduled for training at the Building
Laborers training facility, or other training facility affiliated with LIUNA, such laborer will be
permitted to attend the training. The local union shall provide and the Employer shall accept a
replacement laborer for the time the regular laborer is at the training facility. Upon completion of the
training, the regular laborer shall return to his position with the Employer, if it still exists, and the
replacement laborer shall be returned to the hall, if not needed by the Employer. Laborers acting as
replacement laborers shall not be charged with a referral by the local union under its hiring hall rules.

3.50 Employer Cooperation in Workforce Improvement

To implement the LIUNA Code of Performance adopted by LIUNA, the Employer agrees to
designate discharges “for cause,” when appropriate and to substantiate such cause if necessary in
proceedings under the Code of Performance. This clause is intended only to assist the Union in
implementing its Code of Performance, and a worker’s only rights there under are in connection
with future referrals under the Union’s hiring hall procedures, This clause does not create any
new or additional rights whatsoever for workers under this Agreement, including not creating any
new or additional right to reinstatement with or without back pay from the Employer.

3.60 Non-Discrimination

The Union and the Employer agree to abide by all Executive Orders and subsequent amendments
thereto regarding the Civil Rights Act of 1964, American Disabilities Act, and the New Jersey Law
Against Discrimination, pertaining to non-discrimination in employment on account of race, color,
creed, national origin, political belief, sex, LBGT status, age or disability in every respect, and all
other applicable state and federal laws and regulations.

3.70 Job Notification

All Employers shall provide notification of a job start to the Local Union where a project is located
prior to the start of its work on the project. General Contractors shall advise the Local Union of all
subcontractors scheduled to perform work within this Agreement at the jobsite and shall also require
those subcontractors to give notice at the commencement of their work.

Article IV: Management Rights

4.10 Statement of Management Rights
(a) The Employer retains full and exclusive authority for the management of his own operations.

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The Employer may utilize any method or techniques of construction and the Employer shall decide
the amount of equipment to be used and the number of men needed.

(b) =‘ If there is any conflict between this Article and any rights, benefits or conditions which are
provided for in this Agreement, the said rights, benefits or conditions set forth in this Agreement
shall prevail.

(c) The Employer shall be the sole judge of the work performed and whether or not the work is
performed satisfactorily by the workers. The Employer shall have the right to discharge any
unsatisfactory workers.

4.20 Establishment of Workplace Rules and Regulations

Employees shall observe the Employer’s rules and regulations, not inconsistent with this Agreement,
which shall be posted at the project provided said rules are reasonable and submitted to the Union at
least ten (10) days in advance for prior approval. Said approval shall not be unreasonably withheld.

Article V: Union Rights and Activities

5.10 Non-Discrimination Against Union Members and Officers

Any employee member of the Union acting in any official capacity whatsoever shall not be
discriminated against for his acts as such officer of the Union, nor shall! there be any discrimination
against any employee because of union membership or activities.

§.20 Job Site Visitation and Inspection

Authorized agents of the Union shall have access to the Employer’s construction site during working
hours for the purpose of adjusting disputes, investigating working conditions, collection of dues, and
ascertaining that the Agreement is being adhered to, provided however, that there is no interruption
of the firm’s working schedule and such visitation does not conflict with an owner’s security
requirements. In addition, at the request of the Union, the Employer shall promptly provide the
Union with the names, addresses, telephone numbers,Local Union affiliation, and social security
number of any employees performing laborers work at a jobsite.

5.30 Picket Lines

It shall not be a violation of this Agreement, and it shall not be cause for discharge or disciplinary
action in the event an employee refuses to go through any lawful primary picket line of another
Union and including lawful primary picket lines at the Employer’s places of business.

Article VI: Work Rules and Job Conditions
6.10 Work Rules and Job Conditions
The following work rules and job conditions shall apply to all jobs and work sites:

(a) Workmen shall leave their designated shanty at the starting time and shall remain at their
place of employment until quitting time.

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(b) There shall be no limit on production on workers nor restrictions on the full use of tools or
equipment. There shall be no restrictions, other than may be required by safety regulations, on the
number of men assigned to any crew or to any service.

(c) Slow downs, standby crews and featherbedding practices will not be tolerated.

(d) There shall be no illegal strikes, work stoppages or lockouts.

(e) It is agreed that overtime is undesirable and not in the best interests of the industry or
craftsmen. Therefore, except in unusual circumstances, overtime will not be worked. Where
unusual circumstances demand overtime, such overtime wil! be kept at a minimum.

(f) The Employer shall supply on the job all tools required in performing work covered by this
Agreement including raingear and pull over boots. The Employer shall provide appropriate masks to
laborers slacking lime and safety gloves, goggles, and other equipment as needed to ensure minimum
risk of harm to the workers. The Employer will keep clean and replace or repair all such clothing and
equipment as needed. Each laborer shall supply his own hard hat.

(g) | The Employer shall furnish a suitable shanty for the exclusive use of the laborers where the
laborers can eat lunch and be sheltered in bad weather. The shanty shall be heated in cold weather,
shall be kept clean and sanitary, and shall not be used for the storage of tools or materials. The job
steward and foremen shall be given a key for the shanty.

(h} The Employer shall provide a portable Johnny, on the spot latrine or other toilet facility, and
adequate clean up facilities, on the job site. The Johnny and clean up facilities shall be kept clean
and sanitary at all times.

(i) The Employer shall provide clean drinking water and sanitary drinking cups for all laborers.
In warm weather the water shall be kept cold with ice.

) The Employer shall provide first aid kits and all required safety equipment on the job, which
equipment shall be properly maintained at all times. The job steward and foremen shall be informed
as to the storage location of said equipment and be given keys to said location.

(k) | WhenajJobis not otherwise being worked, for safety reasons the Employer shall employ two
laborers to man temporary heat.

(1) Employees covered hereunder shall have the privilege to partake of some non-alcoholic
beverage at the approximate mid-point of the work period prior to the meal break on any shift.
Where any other trade receives a beverage break during the portion of the work day following the
meal break, the laborers shall also be allowed a beverage break. Any post-meal beverage break shall
occur at the approximate mid-point of the work period following the meal break on any shift.
Beverage breaks shall not exceed ten (10) minutes. The beverage shall be delivered to each person at
his post of work by the Job Steward or some other person who the Job Steward and the Employer
agree upon. There shall be no unnecessary congregating during these beverage breaks. In the event
that this privilege is abused, by mutual agreement between the Employer and the Union, this
privilege may be suspended.

(m) — All laborers shall be allowed five (5) minutes of clean up time before the thirty (30) minute
meal period and at the conclusion of the day.

(n) If the Employer moves a laborer from one jobsite to another jobsite, the Employer shall
require the laborer to check in with the other job’s Job Steward when he or she arrives a the new site,
or, if there is no job steward at the site, the Employer shall immediately report the move to the local
union having jurisdiction over the job site. When laborers are moved from one job site to another

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job site in the course of a day they shall! travel from one site to the other site during company time.
No laborer will travel from one site to the other site while on his meal break.

(0) The Employer shall provide liability and collision insurance coverage for the vehicle of any
laborer who uses his personal vehicle in connection with the project. This insurance shall be the
primary coverage for the vehicle at all times it is so used. Use in connection with the project shall
not include commuting to and from the project.

(p) The Employer shall carry workers’ compensation, unemployment compensation and
temporary disability insurance and all other legally required insurance on every job and the Business
Manager of the local union may require proof of the same at any time. No laborer may be required to
work for any Employer that does not provide such insurance.

6.20 Job Site Safety

(a) All Employers shall be required to carry out their work in a manner so as to provide for the
safety of the men from the danger of faulty scaffolding, improper bracing, inferior materials, or a
careless or faulty method of working that may endanger the safety of laborers on the job. All
Employers shall conform to all applicable provisions of the Construction Safety Code for the State of
New Jersey and all applicable provisions of the Occupational Safety and Health Act laws and
regulations.

(b) —_ It is the Employer’s exclusive responsibility to provide a safe and healthful workplace for all
workers covered under this Agreement and the Union does not assume responsibility for the same.
(c) The Union, its officers, employees, agents and representatives shall not be liable for any
injuries, disabilities or diseases arising from or relating to the work covered hereunder or the job sites
where such work is performed.

(d) |The Employer and the Union members waive any cause of action against the Union, its
officers, employees, agents and representatives, for any injuries, disabilities, or diseases arising from
or relating to the work covered hereunder or the job sites where such work is performed.

(e) The Employer indemnifies the Union, its officers, employees, agents and representatives, and
holds them harmless from any liability, damages, settlements, and legal fees and costs arising out of
any work related injuries, disabilities, or diseases to any worker arising from or relating to the work
covered hereunder or the job sites where such work is performed.

(f) All employees accepting a referral to a project where the employer or owner mandates drug
testing or a criminal history background check, where such testing or background check is paid for
by the owner or employer and required of all other employees, shall submit to, permit and cooperate
with such testing or background check. Such testing or background checks shall be performed in an
industry standard manner and the results thereof shall be confidential. The Union shall have the right
to review the procedures used and any objections thereto shall be resolved expeditiously.

(g) In the referral to jobs, laborers otherwise having the skills required for a position who have a
30 hour OSHA Construction Safety certification shall be given first preference for referral by the
hiring hall. Next preference shall be given to those with a 10 hour OSHA Construction Safety
certification and last preference shall be given to those without cither certification. Laborers shall
take any refreshers required by the New Jersey Building Laborers Training and Apprenticeship
Program in a timely manner to maintain their eligibility for referral.

(g) The Associations and Building Trades have committed to establishing a standard Drug and

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Alcohol Policy and Testing Program by the end of this Agreement which, when adopted, shall
become part of this Agreement.

Article VII: Job Stewards

7.10 Appointment of Job Steward

(a) On every job where laborers are employed by an Employer bound to this Agreement there
shall be a laborer Job Steward employed by the Employer who shall be a member of the territorial
local union where the job is located. No laborer shall be permitted to work without a Job Steward.
(b) The Job Steward shall be appointed by the Business Manager in his sole discretion and the
Business Manager shall be the sole judge as to the Job Steward’s performance of his duties as
Steward.

(c} The Job Steward shall not be discharged except upon a showing of good cause and without
24 hours prior notice to the Business Manager.

(d) The Employer shall ensure that a working Job Steward is on all projects where laborers’ work
is being performed by the Employer or a subcontractor of the Employer, provided, however, that the
Employer shal! not be required to employ a Job Steward when there is no laborer’s work as described
in Article II above to be performed at the project.

{e) Failure to hire or improper discharge of a Job Steward designated by the Union on a project
where there is laborer’s work being done shall be deemed an open breach of this Agreement and the
Union may employ any remedy allowed by law, including job actions, to correct the breach.

7.20 Job Steward Authority

Job Stewards have no authority to take strike action, or any other action interrupting the Employer’s
business except as authorized by official action of the local union. The Employer recognizes these
limitations upon the authority of the Job Steward and shall not hold the Union liable for any
unauthorized acts.

7.30 Job Steward Responsibilities

(a) It shall be the duty of the Job Steward to see to it that the provisions of this Agreement are being
fully carried out on said job.

(b) The Employer shall give the Job Steward sufficient time to perform his duties and the Job
Steward shall not be discriminated against for doing so. The Job Steward shall be given sufficient
time to complete his Shop Steward Report on payday during working hours and, on request, shall
provide the Employer with a copy of his report.

(c) On the request, the Employer shall promptly provide the Job Steward with the names, addresses,
social security numbers, local union affiliation, and telephone numbers of any workers in the
Employer’s employ doing laborers’ work. Furthermore, the Job Steward shall be provided the
opportunity to secure properly executed dues and NJSLPAC authorization forms from any
employees doing laborers’ work, including any laborers permitted to work in the jurisdiction from
other local unions.

(d) The Job Steward shall have the right to inspect the laborers’ payroll prior to its distribution to
confirm that the required wage standards are being adhered to.

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In the case of breach of any of the provisions of this Agreement the Job Steward shall immediately
contact the Business Manager or Business Agent of the local union so that the Business Manager or
Business Agent may make an attempt to amicably adjust the dispute with the Employer.

7.40 Working Job Stewards
All Job Stewards shall be working Job Stewards. There shall be no non-working Job Stewards.

7.50 Certified Job Stewards

(a) A Job Steward who has satisfactorily completed the (1) thirty-hour OSHA Construction Safety
and (2) First Aid/CPR and (3) Scaffold User and (4) Lead Renovator courses, together with any
additional courses or refreshers required by the Union, shall be classified a Certified Job Steward.
(b) Certified Job Stewards, their training being a benefit to the Employer, and as compensation for
completing records of hours worked for the fringe benefit funds due contributions under this
Agreement, shall be paid $.75 per hour over the Class A Rate or over the rate for the classification in
which he is working, whichever is higher.

Article VIII: Foremen

8.10 Foremen

The first foreman and all general foremen at any jobsite shall be selected and assigned by the
Employer in the Employer’s discretion from its regular work complement. If additional foremen are
needed, then the Employer shall give the local union first opportunity to refer foremen qualified for
the type of work required. If the local union does not have qualified foremen to refer, then the
Employer may assign a foreman from his regular complement of workers. All foremen shall be
employees employed in the bargaining unit set forth in Section 1.10 and members in good standing,
pursuant to Section 3.10, with a local union signatory to this Agreement.

8.20 Foreman Rate of Pay

(a) A laborer foreman shall be paid at a rate equal to an additional one hour of pay for each eight
hours of pay. A general foreman shall be paid at a rate equal to an additional two hours of pay for
each eight hours of pay. For purposes of calculating these rates, the Class A laborer’s rate shall be
used. Overtime for foremen and general foremen shall be paid based on the foreman or general
foreman pay rate calculated as set forth above, as may apply.

(b) All foremen and general foremen shall be guaranteed forty hours per week at the foreman or
general foreman pay rate, as may apply, until the conclusion of the job. If the job is temporarily
halted, the foreman or general foreman will be paid the full forty hours for the week of the
interruption; if the job is concluded, the foreman or general foreman shall be paid until the last day
he works,

(c) Foremen and general foremen shall be guaranteed forty hours of benefits per week. More
than forty hours shall not be paid unless such time in excess of forty hours was actually worked.

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Article IX: Hours, Overtime, Shifts and Holidays

9.10 Standard Work Day

(a) There shall! be a uniform eight hour day with starting and quitting times between the
hours of 6:00 a.m. and 6:00 p.m, Alternatively, the Employer may establish a regular four ten-hour
day work schedule for a project from Monday through Thursday with each such work day beginning
and ending between 6:00 a.m. and 6:00 p.m.

(b) Laborers shall be paid not less than eight hours for each day or part thereof worked, except as
follows: When an Employer call laborers to work on a Saturday where Saturday is a time and one-
half rate day, Sunday or Holiday, and the laborers begin work but work four or fewer hours, the
laborers shall be paid for not less than four hours at the applicable rate. If the laborers work more
than four hours, then the laborers shall be paid not less than eight hours. On days terminated due to
inclement weather, the laborers shall be paid for the actual time worked in accordance with this
Agreement.

(c) Said schedules shall be established by the Employer at the beginning of the job in a pre-job
conference with the local union Business Manager and shall apply for the duration of the project
except that the schedule may be adjusted with the consent of the Business Manager upon one week’s
notice.

(d) Onevery shift all laborers will be allowed a thirty minute meal break which shall commence
not sooner than three hours after the beginning of the shift not later than three hours before the
scheduled end of the shift.

9.20 Split Starting Times

An Employer may establish split starting times as part of a regularly scheduled work day. If an
Employer chooses to split the starting times of laborers, laborers who report for work shall be
guaranteed two hours pay and must remain on the project for said two hours, unless released by the
Employer sooner. If the Employer puts the laborers to work on a delayed basis due to weather or
other conditions, the laborer shall be paid for all time from the beginning of his scheduled start time.
Where the Employer establishes split starting times for a project, both crews must begin and
complete their scheduled work days between 6:00 a.m, and 6:00 p.m.

9.30 Shift Differential

(a) The parties to this Agreement recognize the desirability of coordinating the shifts to be
worked with the other trades involved in a project and the customer’s work schedule. If the
Employer determines that shift work is necessary, the following schedule shall prevail:

(b) When a two shift schedule (including a day shift) is established the first or day shift shall be
established on an eight hour basis. The second shift shall be established on an eight hour basis and
be paid the hourly rate for the classification plus 10%,

(c) When a three shift schedule is established the following conditions shall prevail. The day
shift shall be established on an eight hour basis, the second shift shall be established on a seven and
one-half hour basis and the third shift shall be established on a seven hour basis. The first shift shall
receive the hourly rate for the classification. The second shift shall receive the hourly rate for the
classification plus 10%. The third shift shall! receive the hourly rate for the classification plus 15%.

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(d) When there is no day shift and a second shift or third shift is established the following
conditions shall prevail. The second shift shall be established on an eight hour basis. The third shift
shall be established on an eight hour basis. The second shift shall receive the base hourly rate for the
classification plus 10%. The third shift shall receive the base hourly rate for the classification plus
15%,
(e) When an irregular shift must be established, a 10% premium above the hourly rate for the
classification shall apply to all hours worked outside the permissible starting and quitting times.
(f) All time worked before or after a regularly established shift shall be paid at the applicable
overtime rate. Split starting times may not be used on any project where multiple shifts are utilized.
(g) The percentage premium, when added to the base rate, shall be termed the regular hourly rate.
Shift hours for the second and third shifts shall be such as to conform to the day shift and in no case
shall an employee work on more than one shift in a 24 hour period.
(h) To qualify as a shift outside of the 6 AM to 6 PM day, the hours must be regularly scheduled
for not less than five consecutive work days. Work days outside of the 6 AM to 6 PM work day that
are worked for less than five consecutive work days shall not be considered shift work subject to the
differential and shall be paid at time and one-half or double-time, as applicable.

9.40 Overtime

(a) All hours worked beyond an eight hour day shall be paid at a rate of time and one-half the
applicable rate of pay except where a four-ten work schedule is in effect, in which case all hours
worked Monday through Thursday in excess of ten hours shall be paid at a rate of time and one-half.
(b) All hours worked on a Saturday shall be paid for at the rate of time and one-half with the
exception of make-up days. Hours worked on Sunday and holidays shal! be paid for at the rate of
double time.

(c) Overtime on Make-up Days shall be controlled by the Make-up Day provisions set forth in
this Agreement.

9.50 Holidays
(a) The following holidays are recognized under this Agreement: New Year’s Day,President’s Day,
Memorial Day, Independence Day, Labor Day, Veterans Day, Thanksgiving day, Christmas day,
Presidential Election days. Any holiday falling on a Sunday shail be celebrated on Monday.
(b) The Employer and the Unions agree that establishing Martin Luther King Day as a contract
holiday is desirable. If the Employer chooses to honor Dr. Martin Luther King before such time as
the holiday is recognized by the Building Trades as a contract holiday, the Employer may celebrate
Martin Luther King Day as an unpaid holiday and not work on that day. If the state or area Building
& Construction Trades Council requests that Employers working within its jurisdiction celebrate
Martin Luther King Day as a holiday, then the Employer hereto signatory shall comply with such
request and not schedule work for that day, unless it conflicts with an owner mandate for the project.
Ifan Employer bound to honor the holiday under this section works then laborers wil! work too and
holiday pay will apply. In the event that the ACCNJ agrees with any other trade it has collective
bargaining agreements with to recognize Martin Luther King holiday as a holiday under this
Agreement, then such holiday will thereafter be recognized as a holiday under this Agreement.
(c) For weeks with a holiday, the Employer may employ a 4-10 hour work week, Monday through

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Friday.

9.60 Make-up Day

(a} When, during the course of a normal work week of eight hour days from Monday through
Friday, 32 hours or less are worked strictly due to weather conditions or as otherwise mutually
agreed by the Union and the Employer, the employing contractor has the option of working Saturday
for 8 hours at straight time.

(b) | When, during the course of a normal work week of eight hour days from Monday through
Friday, 36 hours or less are worked strictly due to weather conditions, the Employer shall have the
option of working 8 hours on Saturday for straight time up to 40 hours and the applicable overtime
rates for all time over 40 hours.

(c) Where a four ten-hour day schedule is established on a job, and 36 hours or less are worked
due strictly to weather conditions or holiday, Friday may be used as a make-up day for such hours
lost at straight time up to 40 hours and the applicable overtime rates for all time over 40 hours.
(d) The following conditions must be met and satisfied for this Article to become effective:

1. The sole reason for the loss of hours during the normal work week must be weather
conditions.

2. Only those laborers who were employed during the work week of 32 hours or less on the
project where the Employer is requesting a make-up day shall be eligible to work the make-up day.
The Employer shall not be allowed to bring laborers from other sites which are not working on a
project utilizing a Saturday make-up day.

3. Foremen shall be paid for all hours worked on a make-up day in addition to his forty hour
guarantee at straight time up to forty hours actually worked, with the applicable overtime rate being
paid thereafter

4, All laborers employed on a project opting for a make-up day must be offered the
opportunity to work on the make-up day.

5. It is not mandatory for a laborer to work on a make-up day and it is at their choice and
discretion. No negative actions or retribution shall occur against any laborer who opts not to work a
make-up day.

6. The make-up day hours shall be paid in the same pay period as the Friday preceding the
make-up day.

7. The Business Agent of the local union shall be notified as soon as the Employer decides to
utilize a make-up day and must concur with its appropriateness, which concurrence shail not be
unreasonably withheld.

9,70 Paid Sick Leave

All employees covered by this Agreement waive their rights for paid sick leave provided by any state
statute, county or city or local ordinance.

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Article X: Wages and Fringe Benefits

10.10 Classifications of Laborer

There shall be three classifications of laborer, In addition to the three classifications below, the
Associations and Union agree that, on or before November 1, 2016, Labor and Management will
develop a Master Mason Tender Classification, rate and referral and/or hiring rules as to when the
Master Mason Tender classification is to be applied, and to establish criteria and training programs
to further advance the knowledge, skills, and abilities that the parties deem necessary for this
classification. The conditions, requirements and rates adopted by the parties shall become part of
this Agreement and all signatories hereto shall be bound thereby.

10.20 Class A Laborers

Class A Laborers shall be a specialist classification that includes al! laborers working on mason
tending crews and concrete crews, including Laborers engaged in the construction, dismantling or
stripping and cleaning of forms, or as foremen, scaffold builders, burners, nozzlemen on gunite
work, or who operate the jack hammer, tamper, motorized tampers and compactors, vibrators, riding
motor buggy, conveyors, street cleaning machines, hydro-demolition equipment, and all types of
forklifts or bobcats (or equivalent machinery). Foremen shall be paid in accordance with Article VII
hereof.

10.30 Class B Laborers
Class B shall be the basic laborer’s rate and includes all work not included in Class A or Class C.

10.40 Class C Laborers

Class C laborers are laborers doing janitorial-type light clean up work associated with the turnover of
the project or part of a project to the owner, and all flagmen, watchmen, fire watch personnel, and
those manning temporary heat of all types.

10.50 Partial Day Work in Classification

Where, at the contractor’s request, a laborer 1s sent to a job site to perform Class A work, that laborer
shall be paid the Class A rate for not less than the first eight hours of his employment with the
Employer or until his discharge if he is employed by the Employer for less than eight hours. Where a
Class B laborer performs two or more hours of Class A work in the course of a work day then that
laborer shall receive the Class A rate for the full day. Where a Class B laborer performs less than
two hours of Class A work in a work day, then that laborer shall receive his regular rate of pay for
the day. Class C laborers may not perform Class A or Class B work unless they are paid the
applicable Class A or Class B rate for the full day,

10.60 New Work Classification

(a) If in the term of this Agreement, mechanized changes or changes in the method of operation,
or changes in the assignment of existing tasks not previously performed by the Laborers, result in
different or new types of work, the Building Contractors Association of New Jersey and the

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Laborers’ International Union of North America, Eastern Region office as a representative of
Building and Construction District Councils and Local Unions of the State of New Jersey agree to
discuss the same and mutually agree on such work’s proper classification.

(b} The Employer recognizes the Construction Specialist, Masonry Specialist and Concrete
Specialist classifications which classifications shall include all such tasks as are assigned by the
Employer and accepted by the Unions and approved by the Laborers’ International Union of North
America, Eastern Regional Office.

(c) | Laborers working in a Specialist classification shall be paid $3.40 per hour over the A Rate.

10.70 Wage and Fringe Benefit Package

(a) Effective May 1, 2016 the total basic laborer (Class B) wage/fringe package shall be to
$57.37.

(b) Effective November 1, 2016 the total basic laborer (Class B) wage/fringe package shall be
increased to $58.37.

(d} Effective May 1, 2017 the total basic laborer (Class B) wage/fringe package shall be
increased to $59.27.

(e) Effective November 1, 2017 the total basic laborer (Class B) wage/fringe package shall be
increased to $60.42

(f) Effective May 1, 2018 the total basic laborer (Class B) wage/fringe package shall be
increased to $62.27.

(h) Class A laborers shall receive $.50 more per hour than Class B laborers receive.

(i) Class C laborers will receive the standard fringe benefit package (except where a Market
Recovery Agreement is in effect setting another rate) and a wage rate equal to 85% of the Class B
wage rate.

(j) When bricklayers receive double time for hot work associated with firebrick, laborers
working with the bricklayers shall receive double time as well. One hundred (100) degrees
Fahrenheit or over shall constitute hot work. When laborers are employed on excessive hot work,
the contractor shall provide the proper counter fatigue aids which shall meet the standards prescribed
by the governing state or federal agency, and shall provide proper gloves, shoes, and protective
materials to safeguard laborers when they are handling hot work, and contractors shall be responsible
for shoes or clothing which they burn in the performance of hot work. Laborers must spell each
other on all hot work.

(k} Fringe Benefit Payments. Fringe benefit contributions shall be due on all hours paid for all
work assigned to a laborer by the Employer. On overtime, Sunday and Holiday time paid, fringe
benefits shall be paid at time and one-half. Benefits shall be paid on behalf ofall persons performing
work covered by this Agreement, regardless of union membership. The Employer may not at any
time pay benefits in the envelope to any employee performing work covered by this Agreement.
Neither benefits nor checkoffs shall be due on any lump-sum bonus paid to any laborer, or for
holidays paid but not worked, or for any paid vacations. The Employer shall clearly mark any such
payment as a bonus, paid but not worked holiday or vacation, in his records and shall have the
burden of demonstrating that the payment was a bona fide bonus, paid but not worked holiday or
vacation. There shall be a presumption that a bonus is not bona fide if there is more than one bonus
given in a calendar year.

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(I) Upon the request of the union, the employer shall complete and submit prevailing wage
surveys to applicable state and federal agencies.

10.80 Wage and Fringe Benefit Allocation effective 5/1/2016

Class B Wage $30.80
Welfare $11.50
Pension 8.75
Annuity 4.90
Training 1.07
LECET 30
Health & Safety .05
Checkoffs:

LEROF $ .40
NJSLPAC .20
Working Dues 3.75% of the Class B package for journeypersons

3.75% of the Step 1 apprentice package for apprentices
(or as otherwise authorized by the Union)

Wage and Benefit allocations for increases afler May !, 2016 shall be determined by the Unions in
the future, In addition, the Unions reserve the right to reallocate the wage and fringe benefits for any

year under this Agreement or under a Market Recovery Agreement if they deem such reallocation
necessary.

Article XI: Payment of Wages

11.10 Procedure for Payment of Wages

Employees shall receive their wages in cash or by check, on the job. The pay envelope (if paid in
cash) or check shail be plainly marked as to the employee’s name, the hourly rate, number of hours
and the deductions for various taxes and check off items. The envelope shall show the net amount of
wages and the Employer’s name and address. The employees shall be paid prior to the end of the
established weekly pay day, or an earlier day if the regular pay day falls on a recognized holiday
when the banks are closed. Two (2) days back pay may be withheld by the Employer.

11.20 Payment by Check
Employers may pay wages by check unless the Employer has had paychecks not honored by their
bank, in which case the union may require payment by cash or certified check.

11.30 Payment of Wages for Waiting and Travel Time

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Where laborers are not on the job, for any reason for which the Employer is not responsible, when
the paymaster is paying off the laborers, they may be sent to the main office for their pay, but without
any allowance for the time spent in going to and from the office; but where the laborers are not on
the job for any reason for which the Employer is responsible, they will be allowed one hour with pay
in going to the office for their pay. Where Laborers are no paid on the specified pay day they shall
be paid single time for all waiting time at the rate of eight (8) hours per day not to exceed sixteen
(16) hours.

11.40 Payment on Layoff or Cancelled Workday

(a) A laborer shall be notified of his layoff at the end of the workday. The Employer shall
overnight the laborers’ layoff check to the Local Union on the same day as the layoff so as to arrive
the next business day. The laborer shall receive two additional hours pay at straight time for each
additional business day the layoff check is late, except where the layoff check was overnighted on
time but was delivered late through no fault of the Employer.

{b) | Whenan Employer directs a laborer to report for work and the laborer reports for work but is
not put to work that day for reasons other than inclement weather or other circumstances beyond the
Employer’s control, he shall be paid one day’s pay at straight time.

(c) Inthe event that the Carpenters or the Bricklayers receive show up time, then the Laborers
shall receive show up time on the same basis.

11.50 Payment on Quitting or For Cause Termination

(a) Where a laborer quits the job the Employer shall pay all money due to the employee on the next
regular pay day.

(b) Where a Jaborer is terminated for cause by the Employer and the Employer provides the Union
with a Notice of Termination pursuant to Article IJ, Section 3.50 hereof, or other written statement
of the reason for the termination, the Employer shall pay the laborer only for the actual time worked
rounded up to the next quarter hour on the next regular pay day. If the Employer specifically states
that it does not want the employee referred to it in the future then the Union will not refer the
employee to the Employer in accordance with such request.

11.60 Partial Hour Pay

Any laborer working a fraction of any hour during regular working hours or shift shall receive a full
hour’s pay at the applicable hourly rate of pay. Any overtime work performed shall be paid for to the
nearest half-hour at the applicable overtime rate.

11.70 Payment for Owner or Employer Mandated Pre-employment Physicals

Where an owner or employer mandates pre-employment physicals of all applicants, the laborer
applicant shall comply with the mandate provided that the owner or employer pays the expense of the
physical and pays the laborer-applicant for his actual time in taking the same at straight time with
benefits, and that he is provided the results of the physical.

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11.80 Payment for Owner or Employer Mandated Pre-employment Drug Tests

Where an owner or employer mandates pre-employment drug test of all applicants, the laborer
applicant shall comply with the mandate provided that the owner or employer pays the expense of the
drug test and pays the laborer-applicant for his actual time in taking the same at straight time with
benefits, except that when the laborer-applicant’s drug test results are unsatisfactory and he is not
hired, then no wage or benefits will be paid, subject to the laborer-applicant’s right to appeal the test
outcome. If the outcome is successfully appealed then the wages and benefits will be paid.

11.90 Fringe Benefit Payment Bond

The trustees of the pension and welfare benefit fund, or a designated administrator thereof, may
require the Employer to post a bond not to exceed $500,000 with a reputable surety to secure
payment of all sums due or to become due to the several funds created or maintained under this
Agreement.

11.95 Non-Payment of Wages or Fringe Benefits, Breach of Contract

Notwithstanding anything to the contrary in this Agreement, it is agreed that if the Employer fails to
pay wages as agreed upon hercin or to submit reports and proper contributions to the benefit funds as
required, then such failure shall be deemed an open breach of this Agreement, not requiring
arbitration, and the Union shall have the right to call a strike or work stoppage against said Employer
until the breach is corrected.

Article XII; Apprenticeship

12,10 Joint Apprenticeship and Training Committee

The parties agree to continue to maintain a Construction Craft Laborer Apprenticeship Program. The
Joint Training and Apprenticeship Committee established by the parties in accordance with
Apprenticeship Standards previously adopted by the committee shall have the authority to set,
administer and enforce all rules, regulations, ratios and rates for apprentices and the apprenticeship
program.

12.20 Apprentices

The Employer shall participate in the apprenticeship program by accepting apprentices for
employment upon referral by the Union. The Employer is required to accept an apprentice, provided
there is work for such apprentice, once five journey workers are employed. The Employer may,
however, employ one apprentice for the first joumey worker employed and no more than one
additional apprentice for each additional three journey workers employed. An apprentice shall not
work on the jobsite unless supervised by a journey worker. The referral of apprentices to any
employer is a matter of discretion residing with the Local Union and JATC acting through the
Apprentice Coordinator.

An apprentice should, whenever possible, be rotated by the Employer through different types of work

so as to become trained in a variety of operations and work skills. Where the Employer is unable to
provide an apprentice with experience in the full range of craft skills, the JATC may request the

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Local Union to reassign the apprentice to other employment in order to provide the experience. For
so long as the Employer is able to provide the necessary range of employment experience, the
Employer may choose to retain the apprentice from job to job throughout the state, but shall notify
the Loca! Union and JATC of all reassignments. It shall be the objective of both the Employer and
the Union to make reasonable efforts to keep apprentices working so that they can complete the
apprentice program and become journey workers in a reasonable amount of time.

An apprentice shall not be penalized for taking off from work to attend offsite training required by
the JATC (although time off for training shall be unpaid),

12.30 Apprentice Ratio.

(a) Subject to availability, this Agreement shall allow an apprentice ratio as follows: The first
laborer after the job steward may be an apprentice, except where there is a foreman, in which case
the third laborer employed may be an apprentice. Thereafter, there may be one apprentice for every
three journeypersons employed on the job.

(b} Where a Market Recovery Agreement is in effect the apprentice ratio may be adjusted in
accordance with said Agreement.

Article XIII: Portability

13.00 Portability.

The Employer, provided it has notified the local union in advance of the start of the project that the
project was to begin and is otherwise in compliance with this Agreement and is not delinquent to the
benefit or checkoff funds established hereunder, shall be allowed liberal portability of key employees
subject, however, to the territorial local union’s right to fair representation in the Employer’s
workforce for the project. Key employees are laborers who have worked for the Employer in the
bargaining unit set forth in Section 1.10 for at least eight weeks in the previous six months and who
are members in good standing, pursuant toe Section 3.10, of a local union signatory to this
Agreement.

Article XIV: HUD Section 3 and Local Hire Requirements

14.00 HUD Section 3 Requirements and Similar Local Hire Provisions

Where a contract is subject to HUD Section 3 local resident hiring provisions, or where a public
PLA or local ordinance requires such local resident hiring, the employer and the Unions will
cooperate so as to permit the employer to comply with such hiring requirement. On work subject
to HUD Section 3 requirements regarding new hires the Union will allow new hiring as follows:

1* hire: Union
2 Resident
3 Union
4 Union
5 Union
6 Resident

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7 Union
8 Union
9 Union
10 Resident
11 Union
12 Union
13 Resident
14 Union
15 Union
16 Union
17 Resident
18 Union
19 Union
20 Resident

(continue 3 Union/Resident/2 Union/Resident pattern for larger crews)

Where the required ratio is different than that required by Section 3, the parties shall implement a
hiring schedule based on the above format.

Bargaining Unit Laborers shall be given preference over residents for overtime. Residents shall
be laid off before Bargaining Unit Laborers referred by the Union. The Union shall be given first
opportunity to refer Bargaining Unit Laborers who qualify as residents and members so
qualifying shall be counted as resident new hires.

14,10 Benefits on Local Hire Workers

Benefits shall be paid to the Statewide benefit funds on all hours worked by residents/local hire
workers.

Article XV: Fringe Benefit Funds

15.00 Pension and Welfare Funds Sustainability

The parties agree and recognize that the Pension and Welfare Funds must be sustainable for the
union construction industry to prosper and pledge to support fund trustee efforts to both protect
the benefits of laborer participants in these funds and employer competitiveness by improving the
efficiency and sustainability of these funds.

15.05 New Jersey Building Laborers’ Statewide Pension Fund.

All Employers bound by this Agreement shall contribute such amount as has been allocated by the
parties to the New Jersey Laborers’ Statewide Pension Fund which will be administered in
accordance with the applicable trust agreement,

15.10 New Jersey Building Laborers’ Statewide Welfare Fund.
All Employers bound by this Agreement shall contribute such amount as has been allocated by the

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parties to the New Jersey Laborers’ Statewide Welfare Fund which will be administered in
accordance with the applicable trust agreement.

15.20 New Jersey Building Laborers’ Statewide Annuity Fund.

All Employers bound by this Agreement shall contribute such amount as has been allocated by the
parties to the New Jersey Laborers’ Statewide Annuity Fund which will be administered in
accordance with the applicable trust agreement.

15.30 New Jersey State Political Action Committee

All Employers bound by this Agreement shall deduct such amount as has been authorized from each
employee’s pay who signs an authorization for the New Jersey State Political Action Committee
fund. Each Laborers Local will be responsible for obtaining the signatures for these authorizations
and for notifying the appropriate Employers which employees have authorized the political check
off. Employers shall be responsible for getting signed authorization cards from laborers in their
employ who are not members of the Locals signatory hereto. Employers shall forward checkoff
contributions to the fund as the specified rate in the same manner as they contribute to the fringe
benefit funds established or maintained pursuant to this Agreement.

15.40 Working and Organizing Dues Checkoff

All Employers bound by this Agreement shall deduct such amount from each covered employee’s
wages for Organizing Dues and Working Dues as has been authorized by the District Councils and/or
Local Unions bound hereto. Organizing Dues shall be forwarded to the Laborers’ Eastern Region
Organizing Fund and Working Dues shall be forwarded to the appropriate local union or district
council in the same manner as the Employer contributes to the fringe benefit funds established or
maintained pursuant to this Agreement, or as otherwise directed by the district council signatory
hereto. Each Laborers Loca! will be responsible for obtaining the signatures for these authorizations
and for notifying the appropriate Employers which employees have authorized the working and
organizing dues check off. Employers shall be responsible for getting signed authorization cards
from laborers in their employ who are not members of the Locals signatory hereto.

15.50 Laborers’-Employers’ Cooperation and Education Trust

All Employers bound by this Agreement shall pay such amount as has been allocated by the parties
to the Laborers’-Employers’ Cooperation and Education Trust which will be administered in
accordance with the applicable trust agreement. Employers shall contribute to this trust as the
specified rate in the same manner as they contribute to the other fringe benefit funds.

15.60 New Jersey Laborers’ Health & Safety Fund

All Employers bound by this Agreement shall pay such amount as has been allocated by the parties
to the New Jersey Laborers’ Health & Safety Fund which will be administered in accordance with
the applicable trust agreement. Employers shall contribute to this trust as the specified rate in the
same manner as they contribute to the other fringe benefit funds.

15.70 Building Laborers’ of New Jersey Training and Education Fund

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All Employers bound by this Agreement shall pay such amount as has been allocated by the parties
to the Building Laborers’ of New Jersey Training and Education Fund which will be administered in
accordance with the applicable trust agreement. Employers shall contribute to this trust as the
specified rate in the same manner as they contribute to the other fringe benefit funds.

15.80 Associated Construction Contractors Association of New Jersey Industry Advancement
Fund

(a) All Employers covered by the terms of this Agreement shall pay to the Associated
Constrruction Contractors Association of New Jersey, its successors or assigns, hereinafter referred
to as the “ACCNJ", the sum of fifteen cents ($.15) per hour..

(b) Payments to the ACCN] are due and payable at the same time and in the same manner as the
N.J. Building Laborers Training and Education Fund and shall be reported on the same remittance
forms as are used by the Building Laborers Fringe Benefit Funds throughout the State of New Jersey
{c) In consideration of the promises and obligations of the Employers to make contributions to
the ACCNJ, and in consideration of services to be directly and indirectly provided for such
employers by the ACCNJ, as determined by the ACCNJ, and for the benefit of the construction
industry generally, and for other good and valuable consideration, such consideration being
specifically acknowledged by each employer signatory to this Agreement, each Employer agrees to
all of the provisions of this Article and acknowledges that said contractual provisions were made for
the express, direct and exclusive benefit of the ACCNJ, a third party beneficiary under this
Agreement, an Independent Agreement or any other form of agreement or understanding with any
Employer for work covered under this Agreement for the term of this Agreement.

15.90 Due Date for Contribution Payments into Funds

(a) Contributions for funds established or maintained under the Agreement shall be paid within
three days of the end of the weekly payroll period. Biweekly or monthly payments may be allowed
in the discretion of the trustees or administrators of such funds where the Employer complies with
such requirements as the trustees or administrators may set as a condition for biweekly or monthly
payments. All such payments shall be made on properly prepared remittance forms prescribed or
acceptable to the funds. Contributions to the training fund, LECET, NJH&S and all check-off funds
shall be made in the same manner as other payments due under this Agreement.

(b) For purposes of this Article any payment not received on or before the applicable due date set
forth hereinabove shall be considered delinquent.

Article XVI: Collection of Amounts Due Under Agreement

16.10 Right to Strike and Picket for Delinquencies

If the Union is advised by any benefit or other fund created or maintained under this Agreement that
an Employer is delinquent in contributions to the same, or if the Employer is delinquent in the
payment of wages to its laborer employees, then the employees and the Union shall have the right to
strike and/or picket until the wages, benefit or other fund contributions are paid in full, anything in
this Agreement to the contrary notwithstanding. Where a delinquency is due from a subcontractor of

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the Employer for a project in another local union’s territory, the local union where the ongoing
project to be struck or picketed shall give the Employer five days written notice before commencing
the job action.

If any employee loses employment because of any strike or picketing to protest the failure to make
such payments, the Employer shall be responsible to pay all wages and benefits for the time lost.
Except for the foregoing the Union and the employees shall have the right to picket for non-payment
of wages only when the same are not paid as required on the regular pay day.

16.20 Legal Remedies for Collection of Delinquencies

The Trustees or Administrators of any fund due contributions pursuant to this Agreement shall be
entitled all rights accorded by law including but not limited to the right to demand, receive, sue for,
and take such steps, including the institution and prosecution of or the intervention in any proceeding
at law or in equity or in bankruptcy that may be necessary or desirable in their discretion to effectuate
the payment and collection of any sum or sums and costs required to be paid to the Welfare, Pension,
Annuity Funds or other funds or entities under this Agreement.

16.30 Costs of Collection

(a) In addition to the other provisions of this Agreement relating any such funds, in the event the
Employer is delinquent in the payment of contributions to the Funds, or wages, the delinquent
Employer shall also be required to pay attorneys’ fees and court and arbitration costs, if any,
whenever the services of an attorney or arbitrator are necessary to recover the amount due. The
Union or the Trustees may also assess the Employer interest and other costs.

(b) = The Attorneys’ fees shall be as follows:

WITHOUT SUIT OR ARBITRATION WITH SUIT OR ARBITRATION
20% of the first $750.00 27 2% of the first $750.00
15% over $750.00 22 %% over $750.00
(Minimum $15.00 each fund) (Minimum $25.00 each fund)
(c) All disbursements and expenses including arbitration fees are additional. The foregoing

shall apply unless changed by the Board of Trustees of any particular Fund.

(d) In addition to the above, the fund or funds, as the case may be, may further assess a
delinquent Employer for any and all collection costs, court costs, audit costs, attorneys’ fees,
telephone and correspondence costs, etc., which the fund or funds incur in collecting or attempting to
collect the delinquent payments from the Employer. The Employer shall be required to pay
collection costs, audit costs, interest, liquidated damages and attorneys’ fees irrespective of whether
or not litigation is commenced. The Employer shall also pay interest on the amount due but interest
may be waived in the discretion of the trustees of the affected funds.

16.40 Protection of Benefits

(a) Failure on the part of the Employer to pay the benefit fund contributions required pursuant
to this Agreement for each and all of the employees covered by this Agreement shal! impose upon

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the Employer sole and full responsibility to assume the benefits of the employee(s) and their
family(s) are entitled to from such funds.

(b) The Employer agrees that, after the termination date of the Agreement, he will continue to
make contributions to the benefit funds when employing laborers covered hereunder pending the
negotiation of anew agreement. The Employer or the ACCNJ may terminate the obligation set forth
under this provision by giving written notice to the Laborers’ International Union of North America,
Eastern Region office, as representative of the the local unions and district councils bound hereunder,
of its intention to do so and the effective date thereof. All such notices shall be sent by certified mail
and may not be effective until received.

16.50 Fund Rights and Duties
(a) The Trustees of the benefit funds shall have such rights and duties as set forth in the Plans
and in the Agreements and Declarations of Trusts and any supplements or amendments thereto, all of
which are incorporated herein by reference.
(b) The Employer agrees to join and concur with the Union in the execution of such petitions,
applications, and forms that are required to be filed with the state and federal governmental agencies.
(c) The Employers agree that the trustees of the fund or funds shall have the right to require
such reports by the Employers as are necessary to the fulfillment of the agreements and declarations
of trusts and the contracts of insurance, as may apply. The trustees and insurers shall also have the
right to inspect at all reasonable times the payroll, employment and such other records of the
Employer as are pertinent to questions of the accuracy or comprehensiveness of the reports of the
Employer. In the event that the Employer fails to permit said inspection and/or fails to present
adequate records, the trustees have the authority to determine an amount due by averaging the hours
contributed in the prior three years, or such other method as is reasonably calculated to approximate
the amount due provided the method used is not arbitrary and capricious. The trustees’ right to
conduct an audit of the employment and other records of an employer which has properly terminated
this Agreement for the period under which it was bound thereby shall continue for a period of two
years after such termination, Costs as set forth in Article XV, Section 15.30 and the trust documents
shall be applied as to any delinquency found in such audit. The period subject to audit shall be
limited to the period for which the employer was bound to this Agreement, and/ or its predecessor.
(d) In any event where an Employer is or has been delinquent in the payment of contributions to
one or more of the funds established or maintained hereunder the Union and or the trustees shall
have the power to require such Employer to post a reasonable cash bond to secure the Employer’s
future full and prompt compliance with the requirement for such contributions.

Article XVII; Contractor Liability for Delinquency

17.10 Contractor Liability for Delinquency of Sub-Contractor

If the Employer subcontracts any work covered by this Agreement to any subcontractor or other
person, the Employer shall be liable for all contributions owing to the funds established or to be
established hereunder in the event the subcontractor or person fails to pay contributions to the said
funds for employees covered by this Agreement employed by the said subcontractor or person.

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17.20 Employer/Subcontractor Assignment of Payments

If the Employer is or a becomes delinquent in the payment of any contributions to any funds
established or to be established hereunder directly or by way of its responsibility for subcontractor
contributions pursuant to Article 16.10 hereof, the Employer hereby assigns and transfers over all
rights, title, and interest in all monies due it from the owner, construction manager, general
contractor, any other contractor, or any governmental agency, to the said funds in the amount up to
the sum due to the funds. Upon notice by the funds to the owner, construction manager, general
contractor, other contractor, or governmental agency, the said owner, construction manager, general
contractor, other contractor, or governmental agency shall! immediately remit to the funds the amount
claimed to be due to the funds. The amounts claimed to be due shall be immediately paid and, ifany
dispute arises over the amount paid and a refund is alleged to be due to the Employer, the matter may
be submitted to arbitration. The funds liability in such case shall be limited to such refund and shall
not include any consequential, special, punitive or other damages. The provisions of this Section do
not limit the Employer’s liability for subcontractor contributions under Article 171.10 hereof.

Article XVII: Subcontracting

18.10 Subcontractors to Become Signatory to Agreement

The Employer agrees that all contractors or subcontractors who are engaged by the Employer to
perform work of the kind covered by this Agreement at the site of construction, alteration, painting,
demolition, asbestos removal, hazardous waste removal, or repair of a building, structure, or other
construction work shall be or shall become a signatory to this Agreement. Furthermore, the
Employer agrees to require to all subcontractors to use laborers represented by the Union for all
cleanup work at the project. The Employer will be responsible for all losses incurred by the
employees or the Union in the event he subcontracts to a subcontractor who fails to execute this
Agreement. The purpose of this Article is to preserve the job opportunities and work jurisdiction of
employees covered by this Agreement.

18.20 Preservation of Bargaining Unit Work

In order to protect and preserve work for the employees covered by this Agreement and to protect the
benefits to which employees are entitled to under this Agreement, and to prevent any device or
subterfuge to avoid the protection and preservation of such work and benefits, it is agreed that when
the Employer performs any work of the type covered by this Agreement at any work site (1) under its
own name, or (2) under the name of another entity (whether a corporation, company, partnership,
joint venture, or any other business entity) where the Employer, including its owners, stockholders,
officers, directors, or partners, exercise either directly or indirectly (such as through family members
or company employees) any significant degree of ownership, management or control, the terms of
this Agreement shall be applicable to all such work.

Either the Union or an affiliated benefit fund or funds may bring a grievance pursuant to this

provision. The Employer shall cooperate fully with any inquiry initiated by the Union or funds and
shall permit counsel to the Union or funds full access to all of its corporate records to determine

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whether the Employer has violated this provision. In the event that an arbitration or court action is
brought by the Union or funds based on a violation of this provision and the Union or funds prevail
in whole or part, the Employer, including its owners, stockholders, officers, directors, or partners,
exercising, any significant degree of ownership, management or control over another entity
performing the work, shall be liable, in addition to any lost wages or benefits, for all of the Union’s
or funds’ court costs, arbitration, legal, accounting, and all other professional and investigative fees
or expenses.

Article XIX: Transfer of Company Title or Interest

19.10 Agreement Binding on Successor Companies

(a) | This Agreement and any supplemental Agreements hereto, shall be binding upon the parties
hereto, their successors, administrators, executors and assigns. In the event an operation or a
company is sold, leased, transferred or taken over by sale, transfer, lease assignment, receivership or
bankruptcy proceeding, such operation or successor employer shal! continue to be subject to the
terms and conditions of this Agreement for the life thereof.

(b) ‘It is understood by this Section that the parties hereto shall not use any device to a third party
to evade this Agreement. The Employer shall give notice of the existence of this Agreement to any
purchaser, transferee, lessee, assignee, etc., of the work covered by this Agreement or any part of
thereof. Such notice shall be in writing with a copy to the Local Union at the time the seller,
transferor, or lessor executes a contract or transaction as herein described. The Local Union shal!
also be advised of the exact nature of the transaction, not including financial details. In the event the
Employer fails to require the purchaser, transferee, or lessee to assume the obligations of this
Agreement, the Employer (including partners thereof} shall be liable to the Local Union, and to the
employees covered for all damages sustained as a result of such failure to require assumption of the
terms of this Agreement, but shail not be liable after the bona fide purchaser, the transferee or lessee
has agreed to assume the obligations of this Agreement.

Article XX; Extra Contract Agreements
20.10 Extra-Contract Agreements With Employees Barred
The Employer agrees not to enter into any agreement or contract with his employees, individually or

collectively, which in any way conflicts with the terms and provisions of this Agreement. Any such
agreement shall be null and void.

Article XXI
[Reserved]

Article XXTI; Arbitration and Grievances
22.10 Jurisdictional Disputes

Jurisdictional disputes are not covered under this Article but are covered under Article II, Section
2.20 above.

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22.20 Arbitration Procedure

(a) In the event an Employer unjustifiably fails to pay wages or fringe benefits when due, the
Union has the absolute right to strike and picket the delinquent individual contractor, in addition to
the following procedure. Economic hardship shall not be justification for nonpayment.

(b) All questions or grievances involving the interpretation and application of this Agreement,
including matters of substantive arbitrability and whether this Agreement exists, or any grievance
concerning any term or condition of work, other than trade jurisdictional disputes arising under
Article II, shall be handled under the following procedures:

Step 1 There shall be a meeting in person or by telephone between the Business
Manager of the Union or his designee and an authorized company
representative. The meeting shall be arranged as soon as practicable b
in no event later than seven (7) working days.

Step I If the controversy is not settled pursuant to Step II either party may then
submit the matter within ten (10) working days to the permanent arbitrator
appointed by the trustees of the Statewide Pension and Welfare Fund. Only the
Union or the Employer may submit a dispute to arbitration.

(c) The Arbitrator shall render his decision in writing on the grievance and solely on the
meaning and interpretation of the particular provision of the contract which gave rise to the dispute.
(d} The Arbitrator shall have the authority to decide all disputes arising under this Agreement

including ail matters of procedural and substantive arbitrability and whether an Agreement exists
between the parties.

(€) The Arbitrator shall have no power to add to, subtract from, or modify this agreement.
(f The parties affected shall be afforded a full opportunity to present any evidence, written or
oral, which may be pertinent to the matter in dispute.

(z) The time requirements herein are not jurisdictional and may be relaxed where non-
compliance therewith does not materially prejudice either party and is in the interests of justice.
(h) In the interest of uninterrupted progress on any and all work covered by this Agreement, the

parties hereby agree that there shall be no strikes, work stoppages, picketing or slow downs engaged
in by the Union, except as otherwise set forth in this Agreement.

(i) This article shall not limit the rights of the Trustees of the funds herein from establishing
arbitration procedures as permitted under the Declaration of Trusts, plan documents or the law.

Article XXIV: Separability and Savings Clause

24.10 Agreement Survives if Part is Ruled Illegal

{a) If any Article or Section of this Agreement or of any Supplements or Riders thereto should
be held invalid by operation of law or by any tribunal of competent jurisdiction, or if compliance
with or enforcement of any Article or Section should be restrained by such tribunal pending a final
determination as to its validity, the remainder of this Agreement and of any Supplements or Riders

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thereto, or the application of such Article or Section to persons or circumstances other than those as
to which it has been held invalid or as to which compliance with or enforcement of has been
restrained shall not be affected thereby.

(b) — _ Ifa court of competent jurisdiction decides that any part of this Agreement is illegal, it shall
not invalidate the other portions; it being the sole intent and purpose of this Agreement to promote
peace and harmony in the craft along lawful lines.

Article XXV: Agreement and Termination

25.10 Effective Date and Termination

This Agreement shal] become effective on the 1‘ day of May, 2016, or the date signed, whichever is
later, and shall terminate at midnight, April 30, 2019. It is mutually agreed, however, that if any
Employer signatory or bound to this Agreement desires to terminate this Agreement or to reopen
negotiations for a successor agreement to take effect as of the termination date, such Employer must
give written notice to the Laborers’ International Union of North America, Eastern Region office, of
such intention ninety (90) days prior to the termination of this Agreement, otherwise this Agreement
is to continue in full force and effect after the termination date of this Agreement from year-to-year.
In order for this Agreement to be terminated after the aforesaid termination date, the Employer shall
give written notice at least thirty (30) days prior to April 30" of each succeeding contract year and, if
said thirty (30) days notice is given, the Agreement shall terminate on April 30" of the contract year
following the giving of such notice. In the case of such continuation, the Employer agrees to be
bound by the wage and benefit rate schedules and other terms of any new Agreement(s) made by the
Union and the Building Contractors Association of New Jersey. In the event that an unsigned
employer signs this Agreement within the aforementioned ninety day notice period, then and in that
event the employer shall continue to be bound to the successor Agreement(s) from year-to-year as set
forth hereinabove until such time as a new Agreement is executed by the employer or proper notice
of termination is given to the Union by the employer as provided, in which case this Agreement will
be terminated in accordance with the terms of this Article. All termination notices must be made by
certified mail with a return receipt to be retained by the sender. Notice by the Union to reopen
negotiations shall be given to the Building Contractors Association of New Jersey and shall serve as
notice to all signatories of this Agreement, but shall not relieve the employers of their obligation to
give notice to terminate this Agreement as set forth above and, unless such notice is received by the
Union as provided, such employers shall be subject to the continuation provisions of this Article.

Article XXVI: Interpretation of Agreement

26.10 Interpretation of Agreement

Any conflict in the interpretation of this Agrecment not settled directly by the Employer and the
local union shall be submitted to the Building Contractors Association of New Jersey and the
Laborers’ International Union of North America, Eastern Region office as a representative of the
Building and Construction District Councils and Local Unions of the State of New Jersey, for
resolution. If the same is resolved by mutual agreement, said resolution shall be binding on all

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parties. If the foregoing parties fail to agree as to a resolution of the dispute, the dispute shall be
subject to the grievance and arbitration procedure herein.

Article XXVII: Asbestos and Environmental Remediation Work

27.00 Asbestos Remediation Laborers’ Local 78

Any asbestos work performed by an Employer or subcontracted by an Employer (or a
subcontractor of the Employer) shall be performed by an Employer signatory this Agreement and
to Laborers’ Local 78. Demolition work outside of an active containment area (unless an
asbestos license is expressly required) shall be assigned to and performed by bargaining unit
building laborers covered by the Building, Site and General Construction collective bargaining
agreement.

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IN WITNESS WHEREOF, we the authorized officers of the Employer and the Union have

hereunto set forth our hands and seals this day of : .
Day Month Year

For the Contractor:

 

Print Name of Contractor

 

BIN

By:

 

Signature

 

Print Name and Title

 

Print Street Address

 

Print City, State, Zip Code

 

Telephone Number Fax Number

 

Email

For the Building Construction Laborers’ District Council
and Local Unions 3 & 77 of New Jersey:

By:

 

Field Representative Signature

 

Print Name of Field Representative and Local Union Number

Independent2016CBA.doc

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Exhibit B
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New Jersey Building Laborers Statewide Benefit Funds

3218 Kennedy Bivd., Jersey City, NJ 07306

Phone: (201) 963-0633 FAX: (201) 963-1563

Employer Trade Agreement Report

 

Name’ PARAMOUNT BUILDERS INC.
Address: 296 OAKWOOD AVE
NORTH HALEDON, NJ 07508

EIN: XX-XXXXXXX
Phone: (973) 768-3929
Fax: (973) 310-3718

 

 

 

 

 

Trade A

  

 

   

 

 

 

 

 

 

 

 

 

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INDEP-2022 5/1/2019] 4/30/2022 6/24/2019| 77 |Dominick Cifarelli President
INDEP-2016 5/1/2013] 4/30/2016 11/13/2015} 3 = |Dominick Cifarelli President

 

 

 

Trade Agreement Image

 

 

Toe

Short Form Agreement

Building, Site and Generai Construction Agreement

Phe andersigned Einaployer, desering to emples laborers from ihe New Jemay Building Uonsmucnon Lateorers
Docel Cinsts ae New Jersey Boiling Construgtion Lahore Distec, Counedl afTibiated with tha | abwercrs
International & nion ol Sorth Amenca, hereinaficr the “Lonus.”
levelogritag cont mmamitantieg a harmonies sorking relationship bereeen the undersigned Employer and the sant
Vraens thowhich the rphits et both partes are recognized and tespected, and the work accomplished wath the
eivienss. geen arid quality thal is recessary on order ice expand the wark opportunities of both parties and
the Fo noend desiring ty Fotfill ihe underugnet Frnployers requirements for construcwan eran laborer the
snderiyrcd Lanpdoyer anit Winans hereby agree to be bound by the terms gad conditions ax sel forth on the Bias §
Git Husktiog, Site and Genceml Consimiction Collective Bargaining Agreemem, whih Apreemen is
‘Hootie herein as tf set torth in till) Thos Shon Fara Agreement it nota one job egreeinani

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For the Employer:

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NJ Building Laborer's Statewlde Benefit Funds

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Exhibit C
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Section 16. INFORMATION TO PARTICIPANTS AND BENEFICIARIES. The Trustees

shall provide participants and beneficiaries such information es may be required by law.

Section 17. ACCOUNTANTS AND ACTUARIES, The Trustess shall engage one or more
independent qualified public accountants and one or more enrolled actuaries to perform all
Services as may be required by applicable law and such other services as the Trustees may deem

necessary.

Section 18. RECIPROCITY AGREEMENTS. The Trustees may, in their sole discretion,
enter into such reciprocity agreement or agreements with other pension plans as they determine
to be in the best interests of the Fund, provided that any such reciprocity agreement or

agreements shall not be inconsistent with the terms of this Trust Agreement.

ARTICLE V
Contributions to the Fund
Section 1. RATE OF CONTRIBUTIONS, In order to effectuate the purposes hereof each
Employer shall contribute to the Fund the amount required by any Collective Bargaining
Agreement or other written agreement requiring contributions to the Fund. The rete of
contribution shall at all times be governed by the Collective Bargaining Agreement or other
Fund-approved agreement then in force and effect, together with any amendments, supplements
or modifications thereto. Notwithstanding the foregoing, in the event that an Employer is

required by applicable law to contribute to the Fund despite the expiration of the Employer's

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Collective Bargaining Agreement, that obligation to contribute shall be deemed to also arise
" under this Trust Agreement,

Section 2. EFFECTIVE DATE OF CONTRIBUTIONS. All contributions shall be made

effective as required by the Collective Bargaining Agreement or other Fund-approved agreement

and shall continue to be paid as long as the Employer is so obligated by such agreement or by

applicable law.

Section 3. MODE OF PAYMENT. All contributions shall be payable and due to the Pension
Fund on a monthly basis. and shall be paid in the manner and form determined by the Trustees.
More specifically, the contributions owed for each month shall be due on the twentieth (20th)

day of the following month.

Section 4. DEFAULT IN PAYMENT. If an Employer fails to make contributions to the Fund
when due, the Employer shall be in defau!t and the Trustees, in their discretion, may require the
Employer to pay interest on all past due contributions at the rate of one and one-half percent (1
%%) compounded per month (or such lesser amount as they may set) from the date when the
contributions were dus until the date paid. Further, the Trustees, in their discretion, may require
such 4 defaulting Employer to pay an additional amount equal to twenty percent (20%) of the
unpaid contributions as liquidated damages as authorized by applicable federa] law. In addition,
the Trustees, in their discretion, may require such a defaulting Employer to pay the expenses
incurred by the Fund In collecting contributions, interest or damages, which expenses may include

attorneys’ and accountants’ fees. The Trustees may take any action necessary or appropriate to

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enforce payment of the contributions, interest, damages, and expenses provided for herein,
including, but not limited to, proceedings at law or in equity. The Fund and Trustees shall not be
required to exhaust any grievance or arbitration procedure provided by a Collective Bargaining
Agreement or otherwise with respect to the enforcement of such Employer obligations, but rather
shall have immediate access to the courts, as provided under applicable law, or to designate a
permanent arbitrator to hear and determine collection disputes. The default of an Employer shall

not relieve any other Employer of his obligation to the Fund,

Section 5, REPORTS AND AUDITS. Each employer shall submit to the Fund all reports and
documents as the Trustees deem necessary OF appropriate to collect or verify contributions, Each
Employer, at the request of the Trustees, shal! submit to an audit of the appropriate records of the
Employer to verify that the correct amount of contributions or other payments due the Fund has
been or will be paid. Such an audit may include records relating to employees not covered by the
Fund to the extent necessary or appropriate to verify contributions. No use shall be made of

information gathered during an audit other than uses relating to administration of the Fund.

Section 6. PRODUCTION OF RECORDS, Each Employer shall promptly fumish to the
Trustees, on demand, the names of his Employees, their Social Security numbers, the hours
worked by each Employee and such other information as the Trustees may reasonably require in
connection with the administration of the Trust Fund and for no other purpose, The Trustees
may, by their respective representatives, examine the pertinent employment and payroll records

of each Employer at the Employer's place of business whenever such examination is deemed

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the Trustees, All other expenses incurred pursuant to Article [V hereof shall be paid by the

Fund.

IN WITNESS WHEREOF, the undersigned do hereunto cause this instrument to be duly

executed on the day and year first above written.

For the International Union

 

 

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Exhibit D
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In the Matter of Arbitration ) Before: J. J. PIERSON, Esq.,
) Arbitrator
between )
)
NEW JERSEY BUILDING LABORERS' )
STATEWIDE BENEFIT FUNDS )
(“Funds”) ) AWARD and ORDER
)
-and- )
)
PARAMOUNT BUILDERS INC. ) Re: “Alter-Ego/Single Employer”
as alter-ego with ) Funds Contribution Collections
HIGH MOUNTAIN CONSTRUCTION )
(“Employers”) )
)
Appearing for the Funds Appearing for the Employer:
Bradley Parsons, Esq. None
Kimberly Kemple, NJBLSBF
Jennifer Chang, Esq.

This matter was presented to the undersigned Arbitrator on May 30, 2017, pursuant to
Articles X (“Wages and Fringe Benefits”), XV (“Fringe Benefit Funds”) and XVI (“Collection of
Amounts Due Under Agreement”) of an effective Collective Bargaining Agreement (hereinafter,
“Agreement”, entered into the record as Funds Exhibit F-1). Due notice of the hearing was
forwarded to the Employers, with an itemized “Delinquency Report”.

According to the Funds, Paramount Builders inc. (“Paramount”), a signatory to the
Agreement with the New Jersey Building Laborers (“Laborers”), operated as a “alter ego” entity
with High Mountain Construction (“High Mountain”), also a signatory to the Agreement, in
violation and avoidance of its obligation under Article XVII (Contractor Liability for Delinquency)
and Article XIX (Agreement Binding on Successor Agreement), based on common work, common
contro! of labor relation . (See: Footnote 2).

Based upon the proofs, the undersigned Arbitrator FINDS that:

1, Both Paramount and High Mountain are signatory to the Agreement with the Union,
inclusive of contract provisions which bind and obligate an employer to contribute to defined Funds

under Article XV (collectively referred as the “Funds”). (See F-4 and F-5)
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2. Paramount employed Laborers during payroll periods January 25, 2011 through
December 9, 2014 and performed work on numerous job sites in New Jersey, at times as an alter-
ego with High Mountain, which was covered by the lerms and conditions of the Agreement(s)
during the payroll periods January 25, 2011 through December 9, 2014.

3. As specifically provided in Articles X and XV of the Agreement, an employer is obligated
to contribute benefit contributions to the New Jersey Building Laborers’ Statewide Funds' covered

by the Agreement.' (See Funds Exhibit F-4 and F-5),
4, Article XVI, Collection of Amounts Due Under Agreement states:

16.20 Legal Remedies for Collection of Delinquencies. The Trustecs or Administration of
any fund due contribution pursuant to this Agreement shall be entitled all rights accorded by
law including but not limited to the righi 10 demand, receive, suc for, and take such steps,
including the institution and prosecution of or the intervention in any procceding al law or
in equity or in bankruptcy thal may be necessary or desirable in their discretion to effectuate
the payment and collection of any sum or sums and costs required tc be paid to the Welfare,
Pension or Annuity Funds under this Agreement.

16.36 Costs of Collection.

(a) In addition to the other provisions of this Agreement relating any such funds, in the event
the Employer is delinquent in the payment of contributions to the Funds, or wages, the
delinquent Employer shall also be required to pay altorneys' feces and court and arbitration
costs, if any, whenever the services of an attorney or arbitrator are necessary to recover the
amount due. The Union or the Trustecs, in their discretion, may also assess the Employer
with interest al the current rate.

16.50 Fund Rights and Duties.

(c) The Employers agree that the trustees of the fund or funds shall have the right to require
such reports by the Employers as arc necessary to the fulfillment of the agreements and
declarations of trusts and the contracts of insurance, as may apply. The trustees and insurers
Shall also have the right to inspect at all reasonable times the payroll, employment and such
other records of the Employer as arc pertinent to questions of the accuracy or
comprehensiveness of the reports of the Employers.

§. Article XVII - Contractor Liability for Delinquency states:

17.10 Contractor Liability for Delinquency of Sub-Contractor. If the Employer subcontracts
any work covered by the Agreement to any subcontractor or other person, the Employer shall
be liable for all contributions owing to the funds established or to be established hereunder
in ihe event the subcontractor or person fails lo pay contributions to the said funds for
employees covered by this Agreement employed by the said subcontractor or person.

 

\. Employer contribution under Article 15.00- Pension; 15.10- Welfare; 15.211 - Annuily; 15.30 - State Political Action
Commitiee; 15.50- Laborers’ Employers’ Cooperation and Education Trust; 15.60 - Health & Safety; 15.70 -Training
and Education: 15,80- Industry Advancement. Employers are also obligated to submit (15.40) Organizing Dues and
(15.45). Working Dues are deducted from cach employee's pay.
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17.20 oO ubcontractor Assi of Payments. Hf the Employer is or becomes
delinquent in the payment of any contributions to any funds established or to be established
hereunder directly or by way of ils responsibility for subcontractor contributions pursuant
to Article 16.10 hercof, the Employer hereby assigns and transfers over all rights, title and
intcrest in all monies due it from the owner, construction manager, general contractor, any
other contractor, or any governmental agency, to the said funds in the amount up to the sum
due to the funds. Upon notice by the funds to the owner, construction manager, general
contractor, other contractor, or governmental agency shall immediately remit to the funds
the amount claimed to be due to the funds. The amounts claimed to be duc shall be
immediately paid and, if any dispute arises over (he amount paid and cefund is alleged to be
duce to the Employer, the matter may be submitted to arbitration. The funds liability in such
case shall be limited to such refund and shall not include any consequential, special, punitive
or olher damages. The provisions of this Section do not limit the Employer's liability for
subcontractor contributions under Article 17.10 hercof.

6. Article XIX, Transfer of Company Title or Interest, states:

19.10 Agreement Binding on Successor Companies,

(a) This Agreement and any supplemental Agreements hereto, shall be binding upon the
partics hereto, their successors, administrators, executors and assigns. In the cvent an
Operation or a company is sold, leased, transferred or taken over by sale, transfer, lease
assignment, receivership or bankruptcy proceeding, such operation or successor employer
shall continue to be subject to the terms and conditions of this Agreement for the life
thereof.

(b) {tis understood by this Section that the partics hereto shall not use any device to a third
party to evade this Agreement. The Employer shalt give nolice of the existence of this
Agreement to any purchaser, transferee, lessee, assignee, eic., of the work covered by this
Agreement or any part of thereof. Such notice shall be in writing with a copy to the Local
Union at the time the seller, transferor, or lessor executes a contract or transaction as herein
described. The Local Union shail also be advised of ch exact nature of the transaction, not
including financial details, In the event the Employer fails to require the purchaser,
transferee, or lessce (o assume obligalion of this Agreement, the Employer (including
partners thereof) shall be liable to the Local Union, and to the employees covered for all
damages sustained as a result of such failure to require assumption of the terms of this
Agreement, but shall not be liable afier the bona fide purchaser, the transferee or lessee has
agreed to assume the obligations of this Agreement.

Upon analysis of the evidence presented at the hearing, this Arbitrator FINDS that:

7. Paramount, operating with its alter-ego High Mountain, failed to make required
contributions to the Funds for hours of work performed during specified payroll periods in the
amount $37,140.00, respectively, and violated Articles X and XV of the Agreement, and

8. Paramount did not make contributions, the Funds pursued collection of the contributions
due through the legal services of the law firm of Kroll Heineman & Carton (“Funds Counsel”),
Metro Corporate Campus I, 99 Wood Avenue, Suite 307, Iselin, New Jersey.
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9. Funds Counsel issued Notices of the Delinquency and Arbitration Hearing Date, setting
forth the Funds’ claim that High Mountain and Paramount are delinquent in contributions due the
Funds. (See F-1)

10. With a hearing conducted on May 30, 2017, the Funds presented evidence that
Paramount is delinquent in payment of benefit contributions for work performed by employees on
numerous projects in New Jersey and, despite notices, continued to employee laborers and failed
to make contributions to the Funds. (See F-6 and F-7, Daily Construction Reports).

11. Moreover, the Funds contended that Paramount performed work and employed laborers
with, and under, an “alter-ego/ single employer” High Mountain, evidenced as “similar business
entities” under the control of Domenick Cifarelli, as agent for the two corporations (addressed al:
9 Lincoln Avenue, 2™ Floor, Rutherford, NJ 07070) and maintained the same business address (296
Oakwood Avenue, North Haledon, NJ 07508). Testimony confirmed that the businesses are
operated by Domenick Cifarelli and Tara Cifarelli, his wife. (See F-2)

12. Evidence further established that Paramount was given notice (as was High Mountain)
of its continuous failure to contribute payments to the Funds, as required, for work performed by
employees by the Agreement and that both entities remained delinquent in contributions due the
Funds. (See F-1, dated May 10, 2017).

13. Paramount did not appear to contest, or present, evidence to challenge the charges.

14. Based on the record, the Funds met it burden of proof that Paramount and High Mountain
are “alter egas/single employers” and that Paramount is liable for the deficiencies and delinquencies

evidenced.’

 

2. The lega! framework for reaching an alter ego/single employer determination begins wilh analysis of
whether one company is disguising itself through another cntily in order to avoid the obligations of a
collective bargaining agreement. The factors considered are whether there is substantially identical
management, business purpose, operation, customers, supervisors and ownership. Similarly, in applying its
test, the National Labor Relations Board uses the criteria of: 1) common ownership, 2) common business
purpose, 3) common customers, 4) common management, 5) common equipment. See Pratt-Farnswort

690 F.2d 489 (5" Cir. 1982).

Of importance, there is no formal application of the criteria nor a established legat test in determining
“alter-ego” status. Likewise, no one factor is controlling and cach case is fact-specific, based on the totality
of the circumstances. See Phoenix Canada Oil Co. v. Texaco, Inc,, 842 F.2d 1466 (3" Cir. 1988). Sce also
United States v. Jon-T Chemicals, Inc., 768 F.2d 686 (5" Cir. 1985) and Radio & Television Broadcast
Technicians Local 1264 v. Broadcast Serv. Of Mohile, Inc., 380 U.S. 255 (1965) in which the Supreme Court
stated that the test for single employer status is similar (to “alter-ego” status) and was defined as including
common managemeat, inter-relation of operations and common ownership. Again, no one factor is
dispositive and determinations are based upon the totality of the circumstances.
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15. Finally, in accordance with the provisions of Article XV, Paramount Builders, Inc., the

Employer, shall pay a principal amount of $37,140.00 to the Funds, plus interest in the amount of
$23,105.15; pius $7,428.00 in liquidated damages; reasonable attorneys' fees in the amount of

$8,356.50 and the Arbitrator's fee of $800.00 resulting from the failure of Paramount Builders, Inc.,

as an Employer, to make contribution payments due the Funds in accordance with the Agreement.

Based on the above findings, it is hereby AWARDED and ORDERED that:

1. Paramount Builders, Inc., and principal officers, Domenick Cifarelli and Tara
Cifarelli, as employers, are liable for benefit contributions owing to the Funds, for
work performed by employees of Paramount Builders, Inc. covered by the
Agreement and, further, shall pay forthwith to the Funds the amount of $76,829.65
as specifically set forth in paragraph 15 above. A check shall be made payable to the
“NJBLSBF - Delinquency Department” and forwarded to 3218 Kennedy Blvd.,
Jersey City, NJ 07306. A copy of the check shall be forwarded to the Fund's
Counsel: Kroll Heineman & Carton, Metro Corporate Campus 1, 99 Wood Avenue,
Suite 307, Iselin, New Jersey, 08830 attn: Albert G. Kroll, Esq.

2. Furthermore, the Employer shall remain obligated to the Funds, specifically for
adhering to the terms and conditions of the Agreement and for submitting future
contributions to the Funds for ils delinquent subcontractors in a timely manner; and

3. The Trustees of the Funds, in their discretion, shall cause an audit to be made of
the payrolls and other such records of the Employer as are considered pertinent by
the Trustees to determine the accuracy of information relating to the jobs and periods
involved; and the Employer shal! cooperate in the performance of said audit to
determine the amount of benefit contributions owed, if any, to the Funds; and

4, Should the Employer not pay the full Award amount, as set forth in paragraph 12
above, within fourteen (14) days of receipt of the within the Award, the Trustees of
the Funds, in their discretion, shall issue a subpoena duces tecum and/or ad

iestificandum to the Employer for written or oral testimony regarding, but not limited
to, the following documents:

A. Bank accounts;

B. Federal and state tax returns;

C. Financial statements;

D. Documents evidencing ownership interest in real estate, motor vehicte, any and

all equipment, pension, life or profit sharing plans, stocks, bonds, securities or other
tangible goods;

E. Accounts receivable and accounts payables;
F. Any judgments or liens by or against the Employer;
G. Any and all loans, promissory notes, bills of exchange or commercial paper made
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by or on behalf of the Employer;

5. Finally, in the event it is necessary for the Trustees of the Funds to enforce this
AWARD and ORDER in court, the Employer shal! be responsible for all court costs
including, but not limited to, the filing fee of $400.00.

Dated: July 29, 2019 vt Lecend

Ld Esq., Arbitrator

STATE OF NEW JERSEY:
5S.
COUNTY OF MORRIS

[, J. J. PIERSON, Esq., on my oath, do atlest and affirm to being the person who has executed the
foregoing instrument and issued the above AWARD and ORDER op fuly 29, 2019

J.J. Pierson, Attorney-at-Law, State of New Jersey: it. I deol

 
